12-12020-mg           Doc 3698-18     Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                         (Part 2) Pg 1 of 45




      AFI disclosed the following in its March 31, 2012 quarterly report under the header
 “Potential Losses”:

                    We currently estimate that ResCap’s reasonably possible losses
                    over time related to the litigation matters and potential
                    repurchase obligations and related claims described above could
                    be between $0 and $4 billion over existing accruals. This
                    estimated range is based on significant judgment and numerous
                    assumptions that are subject to change, and which could be
                    material. However, as a result of ResCap’s current financial
                    position, we believe ResCap’s ability to pay for any such losses
                    is very limited.213

      In May 2012, the ResCap Board resolved to enter into the RMBS Plan Support
 Agreement which included a proposed allowed unsecured claim of $8.7 billion related to
 securitizations issued by ResCap between 2004 and 2007.214

      The Examiner and the Examiner’s Professionals recognize the formation of the RMBS
 Investor Clearing House in early 2010 as a catalyst for the pursuit of representation and
 warranty-related claims by PLS investors. The formation of the RMBS Investor Clearing
 House established a formal process for PLS investors to assert their claims and substantially
 increased the likelihood that associated contingent and/or unliquidated liabilities would
 become liquidated, as well as the probable amount of those liabilities. As a result, by 2010, it
 was reasonably foreseeable that ResCap’s contingent and/or unliquidated liabilities for non-
 Agency representation and warranty-related claims would materially exceed its accounting
 reserves. The Examiner’s Financial Advisors estimated the potential incremental liabilities for
 ResCap’s representation and warranty-related claims beginning in 2010, and recorded an
 adjustment for such amounts in excess of existing accounting reserves.

       The original principal balance for ResCap’s PLS securitizations between 2004 through
 2007 was approximately $221 billion.215 The Examiner’s Financial Advisors judgmentally
 estimated and applied a range of put-back percentages to the original principal balance of
 $221 billion to calculate the total contingent and/or unliquidated liabilities related to
 representation and warranty-related claims as of each quarterly measurement date from
 March 31, 2010 through December 31, 2011. These total contingent and/or unliquidated
 liability amounts reflect the estimated payments that would be incurred by ResCap to settle
 repurchase claims, adjusted for probability of realization. The total contingent and/or
 unliquidated liabilities were reduced by ResCap’s existing non-Agency reserves to arrive at a
 range of the total incremental contingent and/or unliquidated liabilities related to
 213 Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 73; see also Memorandum, Legal/Rep

    and Warrant—Range of Reasonably Possible Loss Disclosure Considerations—Q1 2012, dated Apr. 27, 2012
    [ALLY_PEO_0074712].
 214 See Section III.J.4.d.

 215 This included 392 securitizations. See PLS Trust Spreadsheet [EXAM00339947].



                                                   VI-46
12-12020-mg          Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                            (Part 2) Pg 2 of 45




representation and warranty-related claims.216 These incremental liability amounts were applied
in the application of the Asset-Based Approach as of the respective measurement dates.217




216 Non-Agency reserves include reserves for potential claims related to PLS, monolines and whole loan purchasers.

   For purposes of this analysis, the Examiner’s Financial Advisors assumed that the entirety of the non-Agency
   reserves related to potential PLS claims. This assumption results in a conservative estimate of ResCap’s potential
   incremental off-balance sheet liability for PLS representation and warranty-related claims.
217 As previously discussed, the Examiner’s Financial Advisors relied on the market’s contemporaneous evaluation

   of such contingent and/or unliquidated liabilities as manifested in the market pricing of ResCap’s debt securities
   in applying the Market Approach. Accordingly, no adjustment for contingent and/or unliquidated liabilities was
   made to the Market Approach on any measurement date.

                                                       VI-47
12-12020-mg         Doc 3698-18        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                          (Part 2) Pg 3 of 45




 C. UNREASONABLY SMALL CAPITAL

     1. Introduction

      The “unreasonably small capital” or “inadequate capital”218 test is the second of three
 independent determinations of financial distress recognized in the Bankruptcy Code and
 applicable state law. The Examiner evaluated the adequacy of ResCap’s capitalization from its
 inception in 2005 through the Petition Date. The Examiner approached the issue from a broad
 perspective, considering quantitative and qualitative factors in his evaluation of the adequacy
 of capital. Although each of these factors informs the determination of whether a debtor is
 inadequately capitalized, usually a consideration of the totality of the factors presents a more
 complete image of a debtor’s capitalization. In this regard, the Examiner considered the
 relevant facts, individually and in totality, in determining whether ResCap was left with
 unreasonably small capital at any time over the course of its existence. The Examiner further
 assessed these facts and circumstances in the context of events occurring within the industry
 and economy during the relevant time period.

      This subsection initially introduces the conceptual framework and key indicators of
 inadequate capital as established in the applicable law. Special attention is paid to important
 themes developed through the cases that have addressed the concept underlying, and meaning
 of, the statutory term “unreasonably small capital.” Next, this subsection presents the
 Examiner’s conclusions on whether ResCap was left with unreasonably small capital during
 the relevant time period. This subsection then turns to the application of facts developed
 through the Investigation and an assessment of whether various key indicators of inadequate
 capital are present in these circumstances.

     2. Conceptual Framework

      The Bankruptcy Code and applicable state statutes do not define “unreasonably small
 capital.” Thus, courts have been left with the task of formulating the test for determining when
 a debtor has “unreasonably small capital” as a result of a transfer or obligation. Nevertheless,
 several themes, and a litany of factors, may be distilled from the authorities addressing this
 question in the context of sophisticated business parties and transactions.




 218 For purposes of this report, “Unreasonably Small Capital” is considered to be equivalent to the concepts of

    “Unreasonably Small Assets” and/or “Inadequate Capital,” while the inverse is referred to as “Adequate
    Capital” or “Capital Adequacy.”

                                                     VI-48
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                           (Part 2) Pg 4 of 45




              a. Industry And Company-Specific Capital Needs

      First, the unreasonably small capital test requires a fact-intensive assessment of the
 capital needs of a specific debtor in a particular industry. This is often accomplished by an
 assessment of the historic performance, liquidity, leverage, and other operational
 characteristics of the debtor in the context of the relevant industry and broader economy. As
 stated in Collier on Bankruptcy:

                  Adequate capitalization is . . . a variable concept according to
                  which specific industry of business is involved. The nature of
                  the enterprise, normal turnover of inventory rate, method of
                  payment by customers, etc., from the standpoint of what is
                  normal and customary for other similar businesses in the
                  industry, are all relevant factors in determining whether the
                  amount of capital was unreasonably small at the time of, or
                  immediately after, the transfer.219


      Capital needs can vary greatly by industry and, therefore, the industry in which a debtor
 operates is relevant in determining whether its capital is adequate.220 The concept of capital
 adequacy recognizes that there is no universal metric applicable in all situations. An
 assessment must take into account the nature and circumstances of the company at hand.
 Certain businesses in certain industries will need more capital than others, and the need for
 capital may be affected by the current state of the industry or economy. Thus, the following
 factors (among others) will affect an analysis of capital adequacy:

                  (1) Industry Volatility—Companies operating in industries subject to high
                      volatility in supply and demand, associated revenues, costs, profits, and
                      cash flows require more capital than those operating in less volatile
                      industries;

                  (2) Industry Cyclicality—Companies operating in industries with greater
                      cyclicality require more capital than those operating in less cyclical
                      industries;

                  (3) Stage of Business Cycle—Companies heading into an industry downturn,
                      or in the midst of a decline in a business sector, require more capital than
                      those facing an industry upturn;


 219 COLLIER ON BANKRUPTCY ¶ 548.05[3] (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2010).

 220 MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 917, 944 (S.D.N.Y.

    1995) (noting that working capital needs matter in a determination of unreasonably small capital and that, for
    example, in the fixed-base operations industry comprised of “airport-based businesses that provide fuel,
    maintenance, hangaring and other services to aviation customers . . . companies with rapid inventory turnover
    can operate with small working capital”).

                                                      VI-49
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                           (Part 2) Pg 5 of 45




                  (4) Degree of Leverage—Highly leveraged companies (e.g., leveraged buyout
                      companies) require more capital than those with reduced amounts of
                      leverage;

                  (5) Credit Worthiness—Companies with poor credit ratings require more
                      capital than those with strong credit ratings;

                  (6) Capital Intensity—Companies that have high working capital, fixed costs,
                      and capital expenditure needs require more capital than those with mostly
                      lower working capital, mostly variable costs, and lower capital expenditure
                      needs; and

                  (7) Contingent Needs—Companies operating in industries with reasonably
                      foreseeable contingencies require more capital than those without such
                      needs.

       Courts may consider a wide range of factors in determining whether a debtor has been
 left with unreasonably small capital, including: (1) the nature of the business; (2) the stability
 or volatility of income; (3) the likelihood of future growth or contraction by the company;
 (4) the current secured and unsecured debts; (5) the likelihood of collateral backing secured
 debt retaining, gaining, or losing value; (6) the likelihood of incurring substantial consensual
 debt in the future;221 (7) if a transferor is a guarantor, the likelihood that primary debtors will
 default; (8) the spending and saving habits of the entity; (9) the composition of the asset
 portfolio; (10) the track record of prior incidents and claims; (11) the amount of insurance;
 (12) the type of insurance coverage; and (13) whether the transferor reasonably discounted the
 likelihood that certain assets or liabilities would materialize.222

              b. Operating Performance And Capital Cushion

      A debtor’s operating performance and capital cushion are relevant factors in considering
 whether a debtor has been left with unreasonably small capital. These two factors are assessed
 before and after the transaction.223 Essentially, the inadequate capital test gauges whether a




 221 See United States v. Gleneagles Inv. Co., 565 F. Supp. 556, 580 (M.D. Pa. 1983), aff’d sub nom. United States

    v. Tabor Court Realty Corp., 803 F.2d 1288 (3d Cir. 1986).
 222 See John E. Sullivan III, Future Creditors and Fraudulent Transfers: When a Claimant Doesn’t Have a

    Claim, When a Transfer Isn’t a Transfer, When a Fraud Doesn’t Stay Fraudulent, and Other Important Limits
    to Fraudulent Transfers Law for the Asset Protection Planner, 22 DEL. J. CORP. L. 955, 1010–12 (1997).
 223 Official Comm. of Unsecured Creditors of Norstan Apparel Shops, Inc. v. Lattman (In re Norstan Apparel

    Shops, Inc.), 367 B.R. 68, 79–80 (Bankr. E.D.N.Y. 2007) (noting that “for the five and a half years before the
    LBO, Norstan’s working capital averaged 29% of its net sales and 30% of its total assets,” but that after the
    LBO, “Norstan’s working capital [allegedly] averaged 2.1% of its net sales and 1% of its total assets,” and
    holding that these allegations were sufficient to plead an allegation of unreasonably small capital).

                                                      VI-50
12-12020-mg        Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                          (Part 2) Pg 6 of 45




 debtor has sufficient capital to generate profits, or minimally cash flow, and maintain
 operations in accordance with its present and future business plan, thus meeting its
 obligations.224

       An analysis of whether a debtor has been left with unreasonably small capital addresses
 the sufficiency of funding sources reasonably available to a debtor so that it may execute its
 business plan, maintain adequate liquidity and reserves, and satisfy its obligations as those
 obligations mature.225 Thus, “[o]nly those cash inflows that were reasonable for a company to
 have expected to receive . . . whether through new equity, cash from operations, or available
 credit . . . are considered.”226 The critical determination is whether a debtor was rendered
 unable to access internal or external sources of capital and unable to generate sufficient cash
 flows to sustain operations.227 Sources of capital can include operating profits, ongoing
 liquidity and working capital, availability on committed lines of secured and unsecured credit
 (including prospects of refinancing), potential sales of unencumbered and non-core assets to
 fund operations, and access to additional debt or equity through either the capital markets or
 affiliate support. Importantly, capitalization is considered adequate when a debtor has
 sufficient capital resources and cash flows to operate its business and withstand a reasonable
 range of foreseeable downside fluctuations in company specific, industry, and economic
 conditions.228 It is unnecessary for a debtor to have sufficient resources to withstand “any and
 all setbacks.”229 “In undertaking an analysis of unreasonably small capital, courts



 224 Moody v. Sec. Pac. Bus. Credit, Inc., 971 F.2d 1056, 1070 (3d Cir. 1992); In re Tribune Co., 464 B.R. 126,

    168 (Bankr. D. Del. 2011) (citing Moody, 971 F.2d at 1070); Vadnais Lumber Supply, Inc. v. Byrne (In re
    Vadnais Lumber Supply, Inc.), 100 B.R. 127, 137 (Bankr. D. Mass. 1989).
 225 See Brandt v. Hicks, Muse & Co. (In re Healthco Int’l, Inc.), 208 B.R. 288, 302 (Bankr. D. Mass. 1997);

    Salisbury v. Tex. Commerce Bank-Hous., N.A. (In re WCC Holding Corp.), 171 B.R. 972, 985 (Bankr. N.D.
    Tex. 1994).
 226 Statutory Comm. of Unsecured Creditors ex rel. Iridium Operating LLC v. Motorola, Inc. (In re Iridium

    Operating LLC), 373 B.R. 283, 345 (Bankr. S.D.N.Y. 2007).
 227 Moody, 971 F.2d at 1070; Killips v. Schropp (In re Prime Realty, Inc.), 380 B.R. 529, 537 (B.A.P. 8th

    Cir. 2007) (finding debtor left with unreasonably small capital where debtor has insufficient amounts in
    checking account to pay checks sent to creditors); MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport
    Servs. Co., 910 F. Supp. 913, 944 (S.D.N.Y. 1995); WRT Creditors Liquidation Trust v. WRT Bankr. Litig.
    Master File Defendants (In re WRT Energy Corp.), 282 B.R. 343, 411 (Bankr. W.D. La. 2001); Yoder v.
    T.E.L. Leasing, Inc. (In re Suburban Motor Freight, Inc.), 124 B.R. 984, 999 (Bankr. S.D. Ohio 1990); see
    Dahar v. Jackson (In re Jackson), 459 F.3d 117, 123 (1st Cir. 2006); West v. Seiffert (In re Hous. Drywall,
    Inc.), Case No. 05-95161-H4-7, 2008 WL 2754526, at *28 (Bankr. S.D. Tex. Jul. 10, 2008); In re Vadnais
    Lumber Supply, Inc., 100 B.R. at 137 (Bankr. D. Mass. 1989).
 228 See, e.g., Moody, 971 F.2d at 1073; COLLIER ON BANKRUPTCY ¶ 548.05[3][b] (Alan N. Resnick & Henry J.

    Sommer eds., 16th ed. 2010).
 229 In re Iridium Operating LLC, 373 B.R. at 345 (citing MFS/Sun Life Trust, 910 F. Supp. at 944); see also

    MFS/Sun Life Trust, 910 F. Supp. at 943 (“We know, with hindsight, that the forecasts were not realized. But
    the question the court must decide is not whether [the] projection was correct, for clearly it was not, but
    whether it was reasonable and prudent when made.”).

                                                     VI-51
12-12020-mg          Doc 3698-18           Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VI
                                              (Part 2) Pg 7 of 45




 compare a debtor’s projected cash inflows with the debtor’s capital needs throughout a
 reasonable period of time after the questioned transfer.”230

               c. Reasonable Foreseeability

       The unreasonably small capital test is also generally understood to measure a condition
 short of balance sheet or equitable insolvency (the two other independent tests for financial
 distress under applicable fraudulent transfer law). The test recognizes that an undercapitalized
 business, even if solvent today, might become insolvent at some point in the future,231 thus
 harming its creditors. “[A] transaction leaves a company with unreasonably small capital
 when it creates an unreasonable risk of insolvency, not necessarily a likelihood of
 insolvency.”232 The unreasonably small capital test is designed to capture situations where a
 transaction may leave a debtor technically solvent but so depleted that it is “doomed to
 fail.”233

        Unreasonably small capital “connotes a condition of financial debility short of insolvency
 . . . but which makes insolvency reasonably foreseeable.”234 At least one court has likened this
 test to a test for negligence:

                   In other words, a transaction leaves a company with
                   unreasonably small capital when it creates an unreasonable risk
                   of insolvency, not necessarily a likelihood of insolvency. This is
                   similar to the concept of negligence, which is conduct that
                   creates an unreasonable risk of harm to another’s person or
                   property.235

      “The test of ‘unreasonably small capital’ is ‘reasonable foreseeability,’ tested by an
 objective standard anchored in projections of cash flow, sales, profit margins, and net profits
 and losses, including difficulties that are likely to arise.”236 In sum, an evaluation of
 230 In re Iridium Operating LLC, 373 B.R. at 345 (citing Moody, 971 F.2d at 1071–72).

 231 Brandt v. Samuel, Son & Co. (In re Longview Aluminum, L.L.C.), Case No. 03 B 12184, 2005 WL 3021173,

    at *6 (Bankr. N.D. Ill. Jul. 14, 2005) (citing In re Vadnais Lumber Supply, Inc., 100 B.R. at 137), aff’d sub
    nom. Baldi v. Samuel Son & Co., 548 F.3d 579 (7th Cir. 2008).
 232 Brandt v. Hicks, Muse & Co. (In re Healthco Int’l, Inc.), 208 B.R. 288, 302 (Bankr. D. Mass. 1997).

 233 MFS/Sun Life Trust, 910 F. Supp. at 944 (citing Moody, 971 F.2d at 1070 n.22) (“The test is aimed at

    transferees that leave the transferor technically solvent but doomed to fail.”).
 234 In re Healthco Int’l, Inc., 208 B.R. at 302; see also Moody, 971 F.2d at 1064 (noting that the “better view

    would seem to be that ‘unreasonably small capital’ denotes a financial condition short of equitable
    insolvency”).
 235 In re Healthco Int’l, Inc., 208 B.R. at 302.

 236 Ring v. Bergman (In re Bergman), 293 B.R. 580, 584 (Bankr. W.D.N.Y. 2003) (citing Moody, 971 F.2d at

    1073 (“To a degree, parties must also account for difficulties that are likely to arise, including interest rate
    fluctuations and general economic downturns, and otherwise incorporate some margin for error.”)).

                                                        VI-52
12-12020-mg         Doc 3698-18             Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VI
                                               (Part 2) Pg 8 of 45




 unreasonably small capital should entail examining the financial performance of the business
 under a range of scenarios and assessing whether the debtor possesses or has reasonable
 access to sufficient capital to accommodate such scenarios.

      Although courts may consider events occurring after the date of the questioned transfer,
 generally, only information known or knowable at the time of the transfer should be
 considered.237 The determination of whether a debtor is adequately capitalized will be made as
 of the date of the transfer in question;238 the test is prospective, however and a critical question
 is whether the debtor’s demise was reasonably foreseeable.239 Therefore, it is also necessary to
 consider the length of time between the transfer date and the failure of the business.240 Courts
 may be less likely to find a company inadequately capitalized if the debtor continued to
 operate in the ordinary course of business and pay its creditors for an extended period of time
 after the transfer.241 Further, courts have also found it relevant whether a debtor’s decline in
 capitalization occurs in connection with a cause unrelated to the allegedly fraudulent
 transfer.242

              d. Leverage And Debt Capacity

      As indicated above, highly leveraged companies require more capital resources than
 those with less leverage. The greater the debt, generally, the greater the risk associated with a


 237 WRT Creditors Liquidation Trust v. WRT Bankr. Litig. Master File Defendants (In re WRT Energy Corp.),

    282 B.R. 343, 414 (Bankr. W.D. La. 2001) (citing Moody, 971 F.2d at 1070); Salisbury v. Tex. Commerce
    Bank-Hous., N.A. (In re WCC Holding Corp.), 171 B.R. 972, 985 (Bankr. N.D. Tex. 1994).
 238 See, e.g., In re WRT Energy Corp., 282 B.R. at 385 (internal citations omitted).

 239 Moody, 971 F.2d at, 1073; see also Fid. Bond & Mortg. Co. v. Brand (In re Fid. Bond & Mortg. Co.), 340

    B.R. 266, 294 (Bankr. E.D. Pa. 2006) (citing Moody, 971 F.2d at 1073), aff’d, 371 B.R. 708 (E.D. Pa. 2007).
 240 In re Fid. Bond & Mortg. Co., 340 B.R. at 299 (citing Daley v. Chang (In re Joy Recovery Tech. Corp.), 286

    B.R. 54, 76 (Bankr. N.D. Ill. 2002)).
 241 See Moody, 971 F.2d at 1074 (no unreasonably low capital where creditors paid for twelve months after

    transaction); MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 944
    (S.D.N.Y. 1995) (“That the company remained viable [for eight months] after the LBO strongly suggests that
    its ultimate failure cannot be attributed to inadequacy of capital as of the date of the buyout.”); In re Fid.
    Bond & Mortg. Co., 340 B.R. at 299; (In re Joy Recovery Tech. Corp., 286 B.R. at 76 (“Courts will not find
    that a company had unreasonably low capital if the company survives for an extended period of time after the
    subject transaction.”). But see Boyer v. Crown Stock Distrib., Inc., 587 F.3d 787 (7th Cir. 2009) (holding that
    a transferor’s survival for three and a half years after an allegedly fraudulent transaction still left the
    transaction open to attack).
 242 See Moody, 971 F.2d at 1071, 1074–75 (noting that there is a “standard of causation which looks for a link

    between the challenged conveyance and the debtor’s insolvency,” but that, in the case before it, the debtor’s
    insolvency was properly attributed to a “substantial drop in orders and sales” due to “increased foreign and
    domestic competition”); MFS/Sun Life Trust, 910 F. Supp. at 944 (holding that “the more persuasive view is
    that [the debtor] failed because of a concurrence of factors not related to the [allegedly fraudulent
    conveyance]” and pointing to increased competition, increased fees relating to operations, and the failure to
    implement cost-savings strategies as contributing factors to the debtor’s failure).

                                                       VI-53
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VI
                                           (Part 2) Pg 9 of 45




 firm, and the more likely it is that a firm is inadequately capitalized.243 Debt capacity, defined
 as the amount of leverage a firm can reasonably support, is generally referenced as a relevant
 and reliable factor in assessing capital adequacy. Debt capacity often is evaluated by the use
 and analysis of various financial ratios.

       Financial ratio analysis generally consists of examining the relationship between two or
 more numbers on financial statements. The ratios are used as metrics to evaluate the financial
 condition of a debtor. This form of analysis is employed in an effort to highlight a debtor’s
 financial strengths and weaknesses. Leverage and coverage ratios can be informative with
 respect to debt capacity and capitalization, especially when compared to historic ratios for a
 subject company and/or comparable company ratios across a given industry. Leverage ratios
 measure the extent to which a firm has been financed by debt. A common measure of leverage
 is the debt-to-equity ratio, which is typically calculated using the face value of debt compared
 to the book value of equity. Coverage ratios generally provide a measure of a firm’s ability to
 service its financing costs from operations. A common measure of coverage is the fixed-
 charge ratio, which is typically calculated using earnings before interest expense compared to
 interest expense.

     3. Summary Of Examiner’s Conclusions

       The Examiner concludes that the evidence supports the proposition that ResCap was
 adequately capitalized on May 4, 2005, the date that AFI announced the capitalization of
 ResCap,244 and was left with unreasonably small capital from August 15, 2007 through the
 Petition Date. 245 The Examiner’s conclusions are based upon a detailed quantitative and
 qualitative analysis of ResCap’s historical and projected financial and performance
 characteristics, focusing upon the evolution in ResCap’s business model and capitalization
 needs in response to rapidly changing market conditions from 2005 through the Petition Date.
 This analysis included an assessment of ResCap’s profitability and performance, operating
 cash flows, liquidity, leverage, and debt capacity. Additionally, the Examiner considered all
 reasonable external and internal sources of funds available to ResCap, including its ability to
 access capital markets through debt or equity issuances, and its ability to monetize assets to
 fund imminent financial needs. The Examiner considered the viability of ResCap’s business
 model over time, including the reasonableness of ResCap’s financial projections, liquidity
 forecasts, and business plans. The Examiner also considered the financial support received by
 ResCap from AFI in the form of intercompany loans, cash equity infusions, contributions of
 ResCap bond debt in the form of equity, and other forms of related-party support, including
 purchases of certain ResCap assets by affiliates. Furthermore, the Examiner considered events
 occurring within the mortgage industry and the economy.


 243 MFS/Sun Life Trust, 910 F. Supp. at 917, 944.

 244 General Motors Acceptance Corporation, Current Report (Form 8-K) (May 4, 2005), Ex. 99.1.

 245 The Examiner’s conclusion that ResCap was adequately capitalized on May 4, 2005 also pertains to RFC and

    GMAC Mortgage.

                                                     VI-54
12-12020-mg     Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                    (Part 2) Pg 10 of 45




      Specifically, the Examiner based his conclusion that ResCap was left with unreasonably
 small capital as of August 15, 2007 through the Petition Date on a number of factors
 including, but not limited to, the following:

               (1) The deterioration of the U.S. housing market intensified over the course of
                   2007, focusing primarily in subprime and other non-conforming mortgage
                   related products. Increasing delinquencies and defaults on subprime
                   mortgages led to the impairment of related mortgage-backed structured
                   finance securities. As a result, the mortgage markets experienced
                   significantly increased volatility and substantially reduced liquidity.

               (2) ResCap eliminated sub-prime originations and reduced other non-
                   conforming products from its core business in 2007. This process was the
                   result of the rapid deterioration of the sub-prime and non-conforming
                   mortgage markets, which resulted in the failure of many mortgage
                   businesses.

               (3) The global credit markets experienced a significant dislocation on or about
                   August 9, 2007, which was characterized by dramatically increasing
                   interest rate spreads on interbank lending, commercial paper, and other
                   securities relative to risk free rates as reflected in U.S. Treasury securities.
                   As a result, ResCap’s access to the capital markets was impaired and
                   ResCap’s access to the secondary securitization markets was virtually
                   eliminated.

               (4) ResCap incurred billions of dollars in losses in 2007, 2008, and 2009.
                   ResCap’s continuing losses left it unable to service its debts from its
                   operations, leaving it dependent upon support from AFI to meet its capital
                   needs. Notwithstanding AFI’s support, ResCap experienced chronic
                   liquidity stress commencing in the Summer of 2007, and intensifying in
                   2008 and 2009. These liquidity concerns forced ResCap to consider various
                   strategic alternatives, including an orderly liquidation as early as September
                   2007, and to consider a potential bankruptcy filing in the first half of 2008.
                   After 2009, ResCap’s liquidity was maintained at minimal levels pursuant
                   to the structure of ResCap’s line of credit agreement with AFI.

               (5) ResCap’s available cash dropped to a low point of $328 million on
                   August 16, 2007. This liquidity crisis resulted in the expedited sale of
                   Health Capital to AFI for $900.5 million in August 2007 and a $1 billion
                   capital infusion from AFI in September 2007. ResCap’s short-term
                   projections in September 2007 indicated that it would be unable to service
                   its obligations in the ordinary course and maintain sufficient liquidity.
                   ResCap continued to project liquidity shortfalls in its 2008 and 2009 short-
                   term projections.
                                              VI-55
12-12020-mg        Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                          (Part 2) Pg 11 of 45




                 (6) ResCap’s ability to prepare reliable long-term financial projections and
                     business plans was impaired by the rapid deterioration within its businesses
                     and the concomitant deterioration within the mortgage industry and global
                     economy in 2007, 2008, and 2009, among other causes.

                 (7) The marketplace considered ResCap to be at significant risk of future
                     default on its debts in 2007, 2008, and 2009, as shown by the market price
                     for ResCap’s bonds and CDS over this time period. While the market price
                     for ResCap’s bonds recovered in 2010 (and its CDS prices declined), the
                     recovery was recognized as being directly linked to the receipt of TARP
                     funds by AFI.

                 (8) ResCap undertook significant changes to its business model in 2007 and
                     2008 as it attempted to adapt to rapidly changing market conditions and to
                     survive as a going concern. Notwithstanding these changes, ResCap was
                     not viable as a stand-alone business subsequent to August 15, 2007,
                     because of ResCap’s inability to generate profits or access sufficient capital
                     to effectively restructure its business. As a result of its inability to service
                     its obligations in the ordinary course and maintain sufficient liquidity,
                     ResCap was dependent on AFI for continued financial support.

                 (9) AFI infused more than $8 billion in capital into ResCap from 2007 through
                     2012 in the form of $2.6 billion in direct contributions of cash, $3.8 billion
                     in debt forgiveness, and $2 billion in other assets. Generally, AFI’s
                     contributions of cash to ResCap were made in an effort to address imminent
                     liquidity needs. AFI’s contributions of debt were made to address pending
                     covenant default issues. In addition, excluding the Ally Bank Transactions,
                     AFI purchased more than $3.3 billion of ResCap’s assets from 2007
                     through 2012 for consideration of $2.2 billion in cash and $1.1 billion in
                     assumed debt. AFI’s support was insufficient to resolve ResCap’s chronic
                     undercapitalization issues.

      The Examiner now turns to a detailed discussion of the various indicators and factors
 considered in the Examiner’s evaluation of capital adequacy.

     4. Analysis Of ResCap’s Capitalization

      Within the context of the themes discussed above, a variety of indicators and factors have
 emerged from the case law that have become part of the legal literature regularly referenced in
 assessing unreasonably small capital.246 Such items are discussed below.
 246 See, e.g., MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co, 910 F. Supp. 913, 944

   (S.D.N.Y 1995) (“In order to determine the adequacy of capital, a court will look to such factors as the
   company’s debt to equity ratio, its historical capital cushion, and the need for working capital in the specific
   industry at issue.” (citation omitted)); Kipperman v. Onex Corp., 411 B.R. 805, 836 (Bankr. N.D. Ga. 2009)
   (citing MFS/Sun Life Trust, 910 F. Supp. at 944 (S.D.N.Y. 1995)).

                                                      VI-56
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                          (Part 2) Pg 12 of 45




              a. Industry And Economic Considerations

       An analysis of ResCap’s capitalization from 2005 to 2012 requires appropriate
 consideration of the mortgage industry and the economy during this time period. As
 previously discussed in Section III, ResCap was seriously affected by the rapid deterioration
 in the market for subprime mortgage-backed securities in the summer of 2007, and the seizure
 of global credit markets on August 9, 2007. Many mortgage companies either filed for
 bankruptcy relief in 2007 or were subsequently acquired by larger enterprises. This industry
 crisis was the result of a confluence of many factors, including the inability of these
 enterprises to generate sufficient capital to sustain their respective business models during a
 time of severe market dislocation. Indeed, the failure of various mortgage origination and
 servicing businesses during this period resulted from a series of liquidity crises, which in
 turn were symptomatic of chronic undercapitalization issues within the industry. For example,
 New Century filed for bankruptcy relief after a spike in margin calls following a February
 2007 announcement that it would be restating its financials.247 Aegis ceased all mortgage
 origination activity as of August 3, 2007.248 Aegis, American Home, and First Magnus filed
 for bankruptcy relief days after the credit markets seized in August 2007 because they were all
 unable to meet their margin calls, and because of the loss of their warehouse facilities.249

      The FRB described the issues which led to the failure of many mortgage origination
 businesses as follows:

                  Domestic and international financial markets experienced
                  substantial strains and volatility in 2007 that were sparked by
                  the ongoing deterioration of the subprime mortgage sector and
                  emerging worries about the near-term outlook for U.S.
                  economic growth. Substantial losses on structured products
                  related to subprime mortgages caused market participants to
                  reassess the risks associated with a wide range of other
                  structured financial instruments. The result was a drying up of
                  markets for subprime and nontraditional mortgage products as
                  well as a significant impairment of the markets for asset-backed
                  commercial paper and leveraged syndicated loans.250
 247 Declaration of Monika L. McCarthy in Support of Chapter 11 Petitions and First Day Relief, In re New

    Century TRS Holdings, Inc., Case No. 07-10416, Docket No. 2, at 10–14.
 248 Declaration of Edward S. Robertson, Executive Vice President and Chief Financial Officer of the Debtors, in

    Support of First Day Motions, In re Aegis Mortg. Corp., Case No. 07-11119, Docket No. 3, at 3.
 249 Decl. of Michael Strauss in Supp. of Chapter 11 Petitions and First Day Relief, In re American Home Mortg.

    Holdings Inc., Case No. 07-11047, Docket No. 2, at 10–12; Decl. of Edward S. Robertson, Executive Vice
    President and Chief Financial Officer of the Debtors, in Supp. of First Day Motions, In re Aegis Mortg. Corp.,
    Case No. 07-11119, Docket No. 3, at 12–15; Decl. of Gurpreet S. Jaggi in Supp. of Debtor’s Chapter 11
    Petition and First Day Motions, In re First Magnus Financial Corp., Case No. 4:07-bk-01578, Docket No. 6, at
    7–9.
 250 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Feb. 27,

    2008), at 23, http://www.federalreserve.gov/monetarypolicy/files/20080227_mprfullreport.pdf.

                                                      VI-57
12-12020-mg           Doc 3698-18      Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                         (Part 2) Pg 13 of 45




     The failure of mortgage companies with large concentrations in subprime products in
 2007 was directly attributable to funding issues:

                     Over this period, mortgage companies specializing in subprime
                     products began to experience considerable funding pressures,
                     and many failed, because rising delinquencies on recently
                     originated subprime mortgages required those firms to
                     repurchase the bad loans from securitized pools. Financial
                     markets calmed in April [2007], however, and liquidity in major
                     markets remained ample. In June [2007], rating agencies
                     downgraded or put under review for possible downgrade the
                     credit ratings of a large number of securities backed by
                     subprime mortgages. Shortly thereafter, a few hedge funds
                     experienced serious difficulties as a result of subprime-related
                     investments.251

     Ultimately, the issues associated with subprime and other non-conforming mortgage
 products led to the virtual shut-down of the secondary securitization markets:

                     Prices of indexes of credit default swaps on residential mortgage-
                     backed securities backed by subprime mortgages—which had
                     already weakened over the first half of 2007 for the lower-rated
                     tranches—dropped steeply in July for both lower-rated and
                     higher-rated tranches. Subsequently, investor demand for
                     securities backed by subprime and alt-A mortgage pools
                     dwindled, and the securitization market for those products
                     virtually shut down. Those developments amplified credit and
                     funding pressures on mortgage companies specializing in
                     subprime mortgages; with no buyers for the mortgages they
                     originated, more of those firms were forced to close or drastically
                     reduce their operations, and subprime originations slowed to a
                     crawl. Originations of alt-A mortgages—which had held up over
                     the first half of the year—also dropped sharply beginning in July.
                     . . In contrast, the market for conforming mortgages for prime
                     borrowers was affected relatively little. Indeed, the issuance of
                     securities carrying guarantees from Fannie Mae or Freddie Mac
                     rose somewhat in the second half of the year.252




 251 Id.

 252 Id. at 23–24.



                                                   VI-58
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VI
                                          (Part 2) Pg 14 of 45




      The disruption in the subprime mortgage market described above extended to the broader
 credit markets in August 2007. As described by Alan Greenspan, former chairman of the FRB:

                  On [August] 9, 2007, and the days immediately following,
                  financial markets in much of the world seized up. Virtually
                  overnight the seemingly insatiable desire for financial risk came
                  to an abrupt halt as the price of risk unexpectedly surged. Interest
                  rates on a wide range of asset classes, especially interbank
                  lending, asset-backed commercial paper and junk bonds, rose
                  sharply relative to riskless U.S. Treasury securities.253

      The August 2007 credit crisis was a seminal event in the mortgage industry and the
 global economy. At that time, the crisis was so severe that it affected the willingness of
 financial institutions to lend among themselves. As described by the FRB:

                  At the same time, term interbank funding markets in the United
                  States and Europe came under pressure. Banks recognized that
                  the difficulties in the markets for mortgages, syndicated loans,
                  and commercial paper could lead to substantially larger-than-
                  anticipated calls on their funding capacity. Moreover, creditors
                  found they could not reliably determine the size of their
                  counterparties’ potential exposures to those markets, and
                  concerns about valuation practices added to the overall
                  uncertainty. As a result, banks became much less willing to
                  provide funding to others, including other banks especially for
                  terms of more than a few days.254
      While conditions improved in the credit markets in September and October 2007, in part
 because of quantitative easing by the Federal Reserve, the stress on the credit markets
 intensified in late 2007:

                  The improvements in market functioning proved to be short
                  lived, in part because of a further worsening in the outlook for
                  the housing sector and associated concerns about possible
                  effects on financial institutions and the economy.

                  The strains in financial markets intensified during November
                  and December [2007]. The syndicated loan market again ground
                  to a halt.255

 253 Alan Greenspan, The Roots of the Mortgage Crisis, WALL ST. J., Dec. 12, 2007, http://online.wsj.com/article/

    SB119741050259621811.html.
 254 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Feb. 27,

    2008), at 25, http://www.federalreserve.gov/monetarypolicy/files/20080227_mprfullreport.pdf.
 255 Id. at 28.



                                                     VI-59
12-12020-mg           Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VI
                                            (Part 2) Pg 15 of 45




      Mortgage origination businesses with concentrations in subprime mortgage products
 experienced severe funding stress as a result of the deterioration of the subprime and non-
 conforming mortgage markets in 2007. This stress resulted in the failure of many mortgage
 businesses, as described above. ResCap also experienced the same market dynamics, which
 resulted in the virtual elimination of its subprime origination and secondary securitization
 business. AFI’s financial support during this period, however, enabled ResCap to avoid a fate
 similar to that suffered by many mortgage businesses in 2007.

       In 2008, the housing and related mortgage financing industries continued to decline. In
 July, the FRB reported “Housing demand, residential construction, and home prices have all
 continued to fall so far this year. Following a decline at an annual rate of 43 percent in the
 second half of 2007, sales of new homes decreased at an annual rate of 32 percent in the first
 five months of 2008.”256 In January 2008, Markit stopped issuing indices for the subprime
 market.257 Delinquencies on subprime mortgages climbed above 17% by March, and increased
 to over 20% in September.258 The problems in housing and finance began to spill over into the
 general economy as well. Unemployment increased to 5.1% in March, and continued rising
 from there, ending 2008 at 7.3%.259 The FRB reported “[t]he U.S. economy remained sluggish
 in the first half of 2008, and steep increases in commodity prices boosted consumer price
 inflation.”260

      In March 2008, the stress from illiquid markets forced investment bank Bear Stearns to
 seek federal government support. By the end of March, JPMorgan Chase, working with the
 FRB, acquired Bear Stearns.261 The FRB reported to Congress in July 2008 that:

                    Substantial losses on even the highest-rated structured products
                    based on subprime mortgages caused market participants to
                    reassess the risks associated with other structured financial
                    instruments and raised concerns about the exposures of major
                    financial institutions to these assets. As liquidity in markets for
                    structured products evaporated, banks were forced, at least
                    temporarily, to hold more assets on their balance sheets than
                    they anticipated. In addition, banks’ losses on mortgage-related
 256 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Jul. 15,

    2008), at 3, http://www.federalreserve.gov/monetarypolicy/files/20080715_mprfullreport.pdf.
 257 See PERMANENT SUBCOMM. ON INVESTIGATIONS, U.S. SENATE COMM. ON HOMELAND SEC. AND
    GOVERNMENTAL AFFAIRS, WALL STREET AND THE FINANCIAL CRISIS: ANATOMY OF A FINANCIAL
    COLLAPSE (Apr. 13, 2011), at 47, .http://www.hsgac.senate.gov//imo/media/doc/Financial_Crisis/
    FinancialCrisisReport.pdf?attempt=2.
 258 See Exhibit III.F.1.c.

 259 See United States Department of Labor, Bureau of Labor Statistics, http://data.bls.gov/cgi-bin/surveymost.

 260 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Jul. 15,

    2008), at 1, http://www.federalreserve.gov/monetarypolicy/files/20080715_mprfullreport.pdf.
 261 FED. RESERVE BANK OF ST. LOUIS, THE FINANCIAL CRISIS: A TIMELINE OF EVENTS AND POLICY ACTIONS

    (undated), at 5, http://timeline.stlouisfed.org/pdf/CrisisTimeline.pdf.

                                                        VI-60
12-12020-mg       Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VI
                                        (Part 2) Pg 16 of 45




                 securities and other assets prompted credit concerns among
                 counterparties. Both of these factors contributed to strains in
                 bank funding markets. The resulting deleveraging in the
                 financial sector reduced the availability of credit to the overall
                 economy.262

      The first half of 2008 turned out to be the better half, as the global economy, and more
 specifically the financial markets, took a turn for the worse as summer ended:

                 The second half of 2008 saw an intensification of the financial
                 and economic strains that had initially been triggered by the end
                 of the housing boom in the United States and other countries and
                 the associated problems in mortgage markets. The ensuing
                 turmoil in global credit markets affected asset values, credit
                 conditions, and business and consumer confidence around the
                 world. Over the summer, a weakening U.S. economy and
                 continued financial turbulence led to a broad loss of confidence
                 in the financial sector. In September, the government-sponsored
                 enterprises Fannie Mae and Freddie Mac were placed into
                 conservatorship by their regulator, and Lehman Brothers
                 Holdings filed for bankruptcy. The insurance company
                 American International Group, Inc., or AIG, also came under
                 severe pressure, and the Federal Reserve, with the full support
                 of the Treasury, agreed to provide substantial liquidity to the
                 company. In addition, a number of other financial institutions
                 failed or were acquired by competitors. As a result of the
                 Lehman Brothers bankruptcy, a prominent money market
                 mutual fund suffered capital losses, which prompted investors to
                 withdraw large amounts from such funds. The resulting massive
                 outflows undermined the stability of short-term funding
                 markets, particularly the commercial paper market, upon which
                 corporations rely heavily to meet their short-term borrowing
                 needs. Against this backdrop, investors pulled back broadly
                 from risk-taking in September and October, liquidity in short-
                 term funding markets vanished for a time, and prices plunged
                 across asset classes. Securitization markets, with the exception
                 of those for government-supported mortgages, essentially shut
                 down.263



 262 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Jul. 15,

   2008), at 23, http://www.federalreserve.gov/monetarypolicy/files/20080715_mprfullreport.pdf.
 263 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Feb. 24,

   2009), at 1, http://www.federalreserve.gov/monetarypolicy/files/20090224_mprfullreport.pdf.

                                                   VI-61
12-12020-mg           Doc 3698-18        Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                           (Part 2) Pg 17 of 45




      In September and October 2008, in response to the turmoil, the FRB and U.S. Treasury
 began a number of federally-sponsored programs (including most notably TARP) to assist
 numerous companies and financial institutions facing severe financial distress. A number of
 these converted to bank holding companies to take advantage of the low-cost funding
 programs offered by the federal government.

      Economic conditions continued to deteriorate in the first half of 2009, with
 unemployment increasing to 9.5%,264 subprime delinquencies increasing to 25%,265 and home
 prices declining an additional 7% to 18%.266 The second half of 2009 however, was marked by
 a degree of stabilization in several sectors after more than two years of negative economic
 news:

                    After declining for a year and a half, economic activity in the
                    United States turned up in the second half of 2009, supported by
                    an improvement in financial conditions, stimulus from monetary
                    and fiscal policies, and a recovery in foreign economies. These
                    factors, along with increased business and household
                    confidence, appear likely to boost spending and sustain the
                    economic expansion. However, the pace of the recovery
                    probably will be tempered by households’ desire to rebuild
                    wealth, still-tight credit conditions facing some borrowers, and,
                    despite some tentative signs of stabilization, continued weakness
                    in labor markets.267

       With the federal funds rate set as low as 0.01% by December 2009, and held below 1%
 since, the economy generally remained stable from 2010 through 2012. Slow improvements in
 the labor market resulted in unemployment dropping from a high of 10% in October 2009, to
 7.8% in December 2012.268 The S&P Case-Shiller Home Price Appreciation Index remained
 relatively flat after suffering through the steep declines of 2007 and 2008, and subprime
 mortgage delinquencies abated, dropping below 20% by the end of 2012.269 “Financial market
 conditions improved notably in the fall of 2010, partly in response to actual and expected
 increases in monetary policy accommodation. In addition, later in the year, the tenor of
 incoming economic news strengthened somewhat, and the downside risks to economic growth
 264 See United States Department of Labor, Bureau of Labor Statistics, http://data.bls.gov/cgi-bin/surveymost.


 265 See Exhibit III.F.1.c.


 266 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Jul. 21,

    2009), at 4–5, http://www.federalreserve.gov/monetarypolicy/files/20090721_mprfullreport.pdf.
 267 BD. OF GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS (Feb. 24,

    2010), at 1, http://www.federalreserve.gov/monetarypolicy/files/20100224_mprfullreport.pdf.
 268 See United States Department of Labor, Bureau of Labor Statistics, http://data.bls.gov/cgi-bin/surveymost.


 269 See Exhibit III.F.1.c.



                                                      VI-62
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                          (Part 2) Pg 18 of 45




 appeared to recede.”270 Though the economy in general showed signs of stabilization, and in
 some instances, slight improvement in the years 2010, 2011, and 2012, the FRB reported in
 February 2012:

                  Activity in the housing sector remains depressed by historical
                  standards. Although affordability has been boosted by declines
                  in house prices and historically low interest rates for
                  conventional mortgages, many potential buyers either lack the
                  down payment and credit history to qualify for loans or are
                  discouraged by ongoing concerns about future income,
                  employment, and the potential for further declines in house
                  prices. Yet other potential buyers—even those with sufficiently
                  good credit records to qualify for a mortgage insured by one of
                  the housing government-sponsored enterprises (GSEs)—
                  continue to face difficulty in obtaining mortgage financing.
                  Moreover, much of the demand that does exist has been
                  channeled to the abundant stock of relatively inexpensive,
                  vacant single-family houses, thereby limiting the need for new
                  construction activity.271

              b. Changes In ResCap’s Business Model

                  (1) Summary

      As a result of the dislocation of the credit and securitization markets in August 2007,
 ResCap’s business model was no longer viable as conceived. At that time, ResCap was
 engaged in the origination of residential mortgage loans using short-term third-party funding
 sources, then selling or securitizing such mortgage originations. The simultaneous dislocation
 of the credit and securitization markets compromised ResCap’s business model because it was
 forced to use its available short-term credit to fund originations it could not subsequently sell.
 In addition, as the housing and mortgage markets continued to deteriorate, the value of the
 mortgage loans ResCap was forced to hold declined along with market-based advance rates,
 leading to increased margin calls and a corresponding evaporation of available liquidity.

                  (2) Background

      Upon its initial formation, ResCap operated through four distinct operating segments:
 GMAC Residential, RCG, BCG, and IBG.272 Its primary business activities included the
 origination, purchase, sale, securitization, and servicing of residential mortgage loans through
 each of GMAC Residential and RCG. While GMAC Residential had “a greater focus on the
 270 BD. OF   GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS
    (Mar. 1, 2011), at 1, http://www.federalreserve.gov/monetarypolicy/files/20110301_mprfullreport.pdf.
 271 BD. OF   GOVERNORS OF THE FED. RESERVE SYS., MONETARY POLICY REPORT TO THE CONGRESS
    (Feb. 29, 2012), at 8, http://www.federalreserve.gov/monetarypolicy/files/20120229_mprfullreport.pdf.
 272 Residential Capital Corporation, Annual Report (Form 10-K) (Mar. 28, 2006), at 2.



                                                     VI-63
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13         Section VI
                                          (Part 2) Pg 19 of 45




 direct origination of mortgage loans with consumers of prime credit quality that generally
 conform[ed] to the underwriting requirements of Fannie Mae or Freddie Mac,”273 RCG
 “focus[ed] primarily on the purchase of residential mortgage loans in the secondary market
 and the origination of loans through mortgage brokers.”274 In addition, RCG’s products ranged
 from prime to non-prime and “generally d[id] not conform to the underwriting requirements of
 Fannie Mae or Freddie Mac. [RCG’s] mortgage loans [were] generally considered non-
 conforming because of the size of the loans or because they have more expansive
 documentation, property, or credit-related features (e.g., higher debt-to-income or loan-to-
 value ratios).”275 “[RCG] was the fifth-largest non-agency issuer of mortgage-backed and
 mortgage-related asset-backed securities in the United States in 2005.”276

                  (3) Significant Changes In Originations

      Beginning in the second half of 2006, as previously discussed in Section III, the U.S.
 housing and mortgage industries experienced distress as home price appreciation slowed, and
 in some instances declined, and subprime mortgage originations experienced increased
 delinquencies. As a result of the distress that affected subprime borrowers, ResCap recorded
 lower than expected earnings of $83 million for the quarter ended September 30, 2006, $200
 million lower than the same period in 2005.277 Later that year, ResCap reported an operating
 loss of $651 million in the quarter ended December 31, 2006, primarily because of large loss
 reserve adjustments to its subprime mortgage portfolio.278 This was the first quarterly
 operating loss in ResCap’s brief history.

      “Beginning January 1, 2007, based on changes in the organizational structure and
 management of the GMAC Residential and [RCG] operating business segments, these segments
 [were] combined and [were] reported as one reportable operating segment, Residential Finance
 Group.”279 The change in operating segments coincided with ResCap’s first restructuring,
 announced in January 2007 as an expense reduction initiative, whereby ResCap intended to
 reduce headcount by 800, not fill 200 open positions, accelerate the integration of GMAC
 Residential and RCG’s operations and technology, and combine its servicing platforms into one.
 The press release in January 2007 noted, “ResCap’s decision to reduce its workforce and
 accelerate its integration process is being driven by a number of factors, including slower
 originations, shifts in home prices and appreciation rates, a challenging interest rate environment
 and the continued deterioration of the sub-prime sector.”280
 273 Id. at 12.

 274 Id. at 14.

 275 Id.

 276 Id. at 15.

 277 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 7, 2006), at 4.

 278 Residential Capital, LLC, Current Report (Form 8-K) (Mar. 13, 2007), Ex. 99.1.

 279 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 3.

 280 Residential Capital, LLC, Current Report (Form 8-K) (Jan. 16, 2007), at 2.



                                                      VI-64
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13        Section VI
                                          (Part 2) Pg 20 of 45




      As 2007 progressed, the housing market and mortgage finance industries continued to
 encounter distress, primarily as a result of the continued deterioration in the subprime
 mortgage markets. ResCap reported a net loss of $910 million for the quarter ended March 31,
 2007.281 ResCap reported a $254 million loss for the quarter ended June 30, 2007.282 ResCap
 reported, “[o]ur domestic loan production decreased 32.7% in the three months ended June 30,
 2007 and 23.8% in the six months ended June 30, 2007”283 in its quarterly financial
 statements. It further disclosed that:

                  [D]omestic loan production decreased due to a decline in our
                  non-prime, prime-nonconforming and prime second-lien
                  products as a result of unfavorable market conditions. Non-
                  prime loan production totaled $0.7 billion and $3.9 billion for
                  the three- and six-months ended June 30, 2007, respectively,
                  compared to $6.1 billion and $15.2 billion for the same period in
                  2006.284

      By mid-2007 ResCap began encountering difficulties securitizing mortgage loans as
 well. ResCap reported this difficulty in its June 30 financial statements as follows:

                  Gain on sale of mortgage loans, net decreased $239.5 million, or
                  71.0%, for the three months ended June 30, 2007 and $780.9
                  million, or 145.3%, for the six months ended June 30, 2007,
                  compared to the same periods in 2006. The decrease in gain on
                  sale of mortgage loans was primarily due to the decline in the
                  fair value of our delinquent non-prime and prime second-lien
                  loans in the held for sale portfolio. In addition, the gain on sale
                  of current mortgage loans was reduced due to lower investor
                  demand and lack of market liquidity. This severely affected our
                  ability to securitize these loans at favorable margins. Finally,
                  lower origination volume contributed to lower gain on sale
                  income.285

       As shown in Exhibit VI.C.4.b(3)—1 below, ResCap’s mortgage origination business
 experienced a significant decline in 2007, as subprime originations effectively ended by the
 start of the third quarter, and continued distress in the housing market negatively affected
 originations of prime mortgages as well.



 281 Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2007), at 4.

 282 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2007), at 4.

 283 Id. at 29.

 284 Id.

 285 Id. at 34.



                                                      VI-65
12-12020-mg       Doc 3698-18      Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                     (Part 2) Pg 21 of 45




     In June and July 2007, the major credit ratings agencies downgraded many subprime
securitization ratings. This, in turn, caused substantial distress in the capital markets in July and
August 2007 as lenders became wary of the credit risk of their counterparties. In early August
2007, the credit markets seized as commercial paper counterparties refused to roll maturities and
banks refused to lend other than for the very short-term. The resulting impact on mortgage
originators who relied on asset-backed commercial paper and other short-term funding sources
was devastating as few had sufficient capital to overcome immediate commitments absent
unimpaired access to the credit markets. A number of mortgage companies filed for bankruptcy,
while others required rescue financing. ResCap’s available cash dropped to a low of $328 million
as of August 16, 2007, as margin calls increased, necessitating the immediate sale of Health
Capital to AFI for $900.5 million.




                                               VI-66
12-12020-mg           Doc 3698-18     Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VI
                                        (Part 2) Pg 22 of 45




      In a September 7, 2007 ResCap Board presentation, ResCap’s management explained
 “[m]acro mortgage market challenges continue to include: Significant erosion of non-
 conforming product margins characterized by extremely limited secondary market for most of
 these products.”286 It went on to discuss:
                  Global credit markets continue to be severely stressed across a
                  broad range of asset classes—Stress has spread from non-prime
                  mortgages into prime non-conforming mortgages (Jumbos/Alt-
                  A) and the broader credit markets (e.g., commercial paper)—
                  Extremely limited liquidity for non-conforming loans has led to
                  a significant buildup of HFS assets—This asset build-up has
                  consumed significant funding capacity while margin calls and
                  lower funding advance rates on eroding asset values have posed
                  a drain on cash balances.287
      Although ResCap had taken steps to eliminate subprime originations from its mortgage
 business, its business model was not able to accommodate both the deteriorating market
 conditions and seizure of the capital markets. ResCap’s business model was to originate or
 purchase mortgage loans using low-cost, short-term funding, such as asset-backed commercial
 paper. These loans would then be securitized or sold to generate the funds necessary to repay
 the short term debt. As the securitization and credit markets froze, ResCap was left holding
 mortgages it intended to sell in the ordinary course. This posed two significant problems for
 ResCap: (1) ResCap’s available funding capacity was consumed, leaving it with limited
 availability to continue originations; and (2) as the market value of its mortgage loans
 decreased, ResCap was required to post additional collateral to its lenders.
      The September 7, 2007 ResCap Board Presentation noted the impact of liquidity
 constraints on ResCap’s business:
                  Limited access to liquidity has forced ResCap to further curtail
                  asset originations
                  –    Non-prime originations essentially shut-off
                  –    Non-conforming originations reduced to 50% of Q2 2007
                       levels
                  –    Conforming originations continuing but at a slightly reduced
                       levels
                  –    BCG is restricting additional credit approvals
                  –    IBG has raised pricing/eliminated products universally to
                       reduce funding demands288
 286 ResCap Consolidated Operating Review Presentation, dated Sept. 7, 2007, at RC40012734 [RC40012695].

 287 Id. at RC40012735.

 288 Id. at RC40012736.



                                                   VI-67
12-12020-mg           Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13       Section VI
                                          (Part 2) Pg 23 of 45




                  Recent ResCap initiatives include:
                  –    Execution of significant underwriting changes to minimize
                       origination of products with limited profitability or limited
                       funding opportunities
                  –    Re-classification of HFS portfolios to HFI, where
                       appropriate, based on limited secondary market options
                  –    Reduction in expense base in light of significant decline in
                       production and margins
                  –    Reduction/capping of balance sheet exposures
                  –    Establishment of an operating model and go-to-market
                       strategy that is more reflective of current mortgage market
                       realities
                  –    Appointment of Mike Rossi to lead ResCap turnaround289
      ResCap disclosed in its public filings it had “[a]ctively managed our product offerings in
 light of changing market conditions and significantly reduced our non-conforming product
 offerings, including an effective suspension of our nonprime product offering.”290
      In its 2007 Annual Report (Form 10-K), ResCap noted:
                  During the second half of 2007, the change in the U.S. mortgage
                  market has limited our ability to securitize many of our non-
                  conforming loan products and has also resulted in a lack of
                  demand and liquidity for the subordinate interests from these
                  securitizations. This lack of liquidity has also reduced the level
                  of whole loan transactions of certain non-conforming
                  mortgages.291
      ResCap further explained throughout the document that it had reduced its prime non-
 conforming, and effectively halted non-prime, originations because of market conditions, and
 had also reduced its warehouse lending and BCG activities as well. ResCap’s Annual Report
 for 2007 disclosed:
                  In the short-term, it is probable the mortgage industry will
                  continue to experience both declining mortgage origination
                  volumes and reduced total mortgage indebtedness due to the
                  deterioration of the non-prime and non-conforming mortgage
                  market. Due to these market factors, including interest rates, the
 289 Id. at RC40012734–35.

 290 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 39.

 291 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 8.



                                                     VI-68
12-12020-mg        Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13              Section VI
                                       (Part 2) Pg 24 of 45




                  business of acquiring and selling mortgage loans is cyclical. We
                  do not expect the current market conditions to turn favorable in
                  the near term.

                  The persistence of the global dislocation in the mortgage and
                  credit markets referred to above may continue to negatively
                  affect the value of our mortgage related assets. These markets
                  continue to experience greater volatility, less liquidity, widening
                  of credit spreads, repricing of credit risk and a lack or price
                  transparency. We operate in these markets with exposure to
                  loans, trading securities, derivatives and lending commitments.
                  Our access to capital markets continues to be restricted, both
                  domestically and internationally, impacting the renewal of
                  certain facilities and our cost of funding. It is difficult to predict
                  how long these conditions will exist and which markets,
                  products and businesses will continue to be affected.
                  Accordingly, these factors could continue to adversely impact
                  our results of operations in the near term.

                  We have experienced a series of credit downgrades with the
                  rating agencies during 2007 and 2008 due to the disruption in
                  the capital markets. The actions of the rating agencies triggered
                  an increase in our cost of funds due to the step up in coupon on
                  our unsecured debt. A rating agency downgrade on February 22,
                  2008, resulted in an additional and final step-up of 50 basis
                  points to our senior unsecured debt. We have also been impacted
                  by margin calls and changes to advance rates on our secured
                  facilities.292

      Although ResCap executed a number of strategic decisions in an attempt to address the
 immediate issues it faced during this time period, as discussed later, it still required significant
 support from AFI. The challenges inherent in ResCap’s business model were reflected in its
 financial performance, as shown in Exhibit VI.C.4.b(3)—2 below.




 292 Id. at 48.



                                                  VI-69
12-12020-mg           Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13       Section VI
                                          (Part 2) Pg 25 of 45




                    (4) Effects Of International Business

     The severe stress that affected the domestic market spread to foreign markets in the latter
half of 2007. While IBG had increased originations from $19.7 billion in the nine months ended
September 30, 2006 to $23.3 billion in the nine months ended September 30, 2007, it came at a
cost. Net income for IBG of $72.8 million for the nine months ended September 30, 2006 turned
to a net loss of $438.2 million for the nine months ended September 30, 2007.293 ResCap
reported that IBG’s results “[w]ere impacted by the spread of the liquidity market tightening in
Canada, the United Kingdom and Continental Europe during the [third] quarter.”294 In addition,
ResCap reported “[m]argins in which deals were executed significantly decreased during the
period due to lower investor demand and a lack of market liquidity.”295 In its Annual Report
(Form 10-K) for 2007, ResCap disclosed that:

                    During 2007, the mortgage and capital markets have experienced
                    severe stress due to credit concerns and housing market
                    contractions in the United States. During the second half of the
                    year, these negative market conditions spread to the




293 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 42.

294 Id.

295 Id. at 42–43.



                                                      VI-70
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                          (Part 2) Pg 26 of 45




                  foreign markets in which we operate, predominantly in the
                  United Kingdom and Continental Europe.296

                  (5) ResCap’s Restructuring Efforts, Including Potential Liquidation

      As previously discussed, in January 2007 ResCap announced its first restructuring,
 including the reduction of one thousand positions and acceleration of certain integration
 activities in an effort to reduce costs. This was followed in October 2007, with a larger, formal
 restructuring plan as a result of “severe weakness in the housing market and mortgage
 industry.”297 This restructuring was intended to further streamline operations and provide
 ResCap with a scalable operating structure that would be easier to change as the operating
 environment changed. The most significant component of the restructuring plan was:

                  [R]educing [ResCap’s] current worldwide workforce of 12,000
                  associates by approximately 25 percent, or by approximately
                  3,000 associates, with the majority of reductions occurring in the
                  fourth quarter of 2007. This reduction in workforce is in
                  addition to the measures undertaken in the first half of 2007 in
                  which 2,000 positions were eliminated.298

      ResCap’s Annual Report (Form 10-K) for 2007 further detailed the costs of the plan,
 explaining:

                  The total restructuring charge of $127 million exceeded initial
                  estimates of between $90 and $110 million due to unanticipated
                  fixed asset write-downs and facility costs connected with certain
                  workforce reductions. We believe we incurred substantially all
                  of the restructuring costs in the fourth quarter of 2007 and that
                  the plan will be operationally complete by mid 2008. As a result
                  of a fully executed restructuring plan, we project we will realize
                  annual cost reductions of $160 million in compensation and
                  benefits and a further $25 million of reduced rent and asset
                  depreciation.299

      The restructuring plan had been in development since early September 2007 as indicated
 by presentations to the ResCap Board. One such presentation prepared for the September 26,
 2007 ResCap Board meeting offered three possible scenarios:

                  (1) Current Path: Aggressively restructure; Achieve profitability
                  in 2008; Inject $725 [million] equity; Stabilize operations,
 296 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 48.

 297 Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007), Ex. 99.1, at 1.

 298 Id.

 299 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 50.



                                                      VI-71
12-12020-mg        Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13         Section VI
                                       (Part 2) Pg 27 of 45




                  preserve the franchise and fight for survival until conditions
                  improve; Return to Board within 60 days to discuss capital
                  situation and other business options;

                  (2) [Joint Venture or] Sale: Explore opportunities to sell ResCap
                  in whole or in part; Understand valuation for whole business/
                  parts of the business (i.e. RFG, IBG, BCG, Servicing) in the
                  current environment; Identify potential acquisitions and/or JV
                  partners; Discuss potential M&A options with Board within 60
                  days; and

                  (3) Orderly Liquidation/Other: Explore viability and economics
                  of an orderly liquidation; Explore viability and economics of
                  other exit or partial exit options.300

       Even under the most optimistic of these three scenarios (“Current Path”), ResCap
 recognized it needed a $725 million cash equity contribution, stabilization of its operations,
 and “would fight for survival until conditions improve[d].” The presentation recognized
 ResCap’s liquidity issues at the time and noted “ResCap liquidity position improved since
 August but [was] still fragile” and “will likely need more equity in Q4 depending on status at
 that time.”301

             c. ResCap’s Liquidity

      The term “liquidity” is generally understood to consist of a company’s available cash
 balances, excess working capital, and available credit on committed lines that, when
 combined, represent funds available to the enterprise in the ordinary course of business. An
 assessment of liquidity includes an analysis of funds that can be generated from operating the
 business (cash flows from operations), and cash that might be realized through the sale of non-
 core assets to the extent that such assets can be monetized in a timely manner to satisfy
 imminent financial needs. Such an analysis can often provide compelling information
 regarding the sufficiency of a company’s liquidity resources to support its business over a
 relevant time period, especially as it relates to a company’s ability to deal with potential
 downturns, stresses, and contingencies. An evaluation of a company’s liquidity must be
 performed in the context of its specific business needs, viewed through the lens of industry
 conditions and the macro-economic environment.

      ResCap focused its liquidity management and reporting processes on its domestic
 liquidity portfolio, which included cash readily available to cover operating demands across
 its business operations. ResCap’s domestic liquidity portfolio excluded certain cash balances,
 specifically international cash balances, cash balances maintained at Ally Bank, and certain


 300 ResCap Review Presentation, dated Sep. 26, 2007, at RC40012952 [RC40012907].

 301 Id. at RC40012914.



                                                  VI-72
12-12020-mg           Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                          (Part 2) Pg 28 of 45




 operating cash maintained within business segments to cover timing related outflows.302 After
 June 2008, ResCap projected and reported its (i) unrestricted liquidity (unencumbered cash
 held in the United States by ResCap and its subsidiaries); and (ii) consolidated liquidity (cash
 and cash equivalents, excluding cash and cash equivalents maintained at Ally Bank) as
 required by certain financial covenants under the Secured Revolver Facility Loans.303

                     (1) ResCap Was A Liquidity-Intensive Business

      ResCap was a liquidity-intensive business in part due to the volatility inherent in its
 assets and the dependence of its business model on access to liquid capital.304 In 2006, ResCap
 disclosed:

                     Our liquidity needs are significant and we rely on access to
                     capital markets to provide financing and fund asset growth. Our
                     primary liquidity management objective is ensuring that we
                     have adequate, reliable access to liquidity across all market
                     cycles and in periods of financial stress. We meet our financing
                     needs in a variety of ways, through whole-loan sales, the public
                     debt capital markets, mortgage conduit facilities and asset-
                     backed securities markets, as well as through the deposit-
                     gathering and other financing activities of [Ally] Bank.305

      Accordingly, an evaluation of ResCap’s process for managing its liquidity needs provides
 valuable insight into ResCap’s capital adequacy.




 302 ResCap   focused on its domestic liquidity portfolio as certain sources of liquidity within the ResCap
    consolidated group of entities were not readily accessible to meet imminent liquidity needs, including:
    (1) IBG’s available liquidity, which was located in several foreign countries and was subject to legal and tax
    repatriation issues, see Int. of J. Lombardo, Mar. 18, 2013, at 9:3–10:3; (2) cash for operating needs, which
    was “maintained within business segments to cover timing related outflows,” see Residential Capital, LLC,
    Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 48; (3) cash balances of “[Ally] Bank (& Auto Bank) Cash
    [that was] not available to ResCap and [was] earmarked to fund balance sheet growth,” see ResCap Weekly
    Cash Rollforward and Dashboard [CERB011709] (quoting ResCap Total Cash & Cash Equivalent report on
    the “04.30.08” worksheet); and (4) unused revolvers, which were maintained as backup funding to support
    commercial paper and other short term secured funding facilities, see Section VI.C.4.c(2)(c).
 303 Secured Revolver Loan Agreement, § 7.02 [RC00024234]; Initial Line of Credit Agreement, §§ 2.03, 7.02

    [ALLY_0023145].
 304 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 76.

 305 Id. at 76–77.



                                                      VI-73
12-12020-mg           Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VI
                                             (Part 2) Pg 29 of 45




                    (2) ResCap’s Processes And Procedures For Managing Liquidity

       ResCap outlined detailed processes and procedures by which it managed its liquidity
 risk.306 These processes and procedures were comprised of, among other things,
 (1) maintaining sufficient short-term and long-term financing; (2) maintaining diversified
 sources of funding; (3) maintaining sufficient liquidity reserves; (4) maintaining an active
 dialogue with its credit rating agencies; and (5) employing a prudent management oversight
 and governance process.307

                             (a) Short-Term And Long-Term Financing

       ResCap tied its need for short-term financing to its various short-term asset classes,
 including HFS mortgage loans, lending receivables, and other liquid assets.308 ResCap’s need
 for long-term financing was tied to financing its longer term assets such as HFI mortgage
 loans, MSRs, real estate investments, and assets used as excess collateral for its various
 funding conduits.309 ResCap focused on its liquidity daily, managing its debt maturities and
 credit facility expirations to minimize its liquidity risk.310 ResCap stated it had achieved what
 it believed to be a “well-laddered” unsecured debt maturity profile as of December 31,
 2006.311 Notwithstanding the above, ResCap’s ability to operate its business and deal with its
 pending debt maturities, as shown in Exhibit VI.C.4.c(2)(a) below, was dependent upon its
 ability to refinance billions of dollars in credit facilities that, in turn, was dependent upon
 ResCap’s creditworthiness and continued access to the capital markets.




 306 The Federal Reserve Bank of San Francisco has explained:


           Liquidity is generally defined as the ability of a financial firm to meet its debt obligations
           without incurring unacceptably large losses. An example is a firm preferring to repay its
           outstanding one-month commercial paper obligations by issuing new commercial paper instead
           of by selling assets. Thus, ‘funding liquidity risk’ is the risk that a firm will not be able to meet
           its current and future cash flow and collateral needs, both expected and unexpected, without
           materially affecting its daily operations or overall financial condition. Financial firms are
           especially sensitive to funding liquidity risk since debt maturity transformation (for example,
           funding longer-term loans or asset purchases with shorter-term deposits or debt obligations) is
           one of their key business areas.
           JOSE A. LOPEZ, FED. RESERVE BANK OF S.F., FRBSF ECONOMIC LETTER 2008-33: WHAT IS
           LIQUIDITY RISK? 1 (Oct. 24, 2008), http://www.frbsf.org/publications/economics/letter/
           2008/el2008-33.pdf.
 307 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 77–79.

 308 Id. at 77.

 309 Id.

 310 Id.

 311 Id.



                                                          VI-74
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13      Section VI
                                          (Part 2) Pg 30 of 45




                      (b) Diversified Sources Of Funding

      ResCap endeavored to use a diversified array of funding sources, depending, in part, on the
type and nature of the associated asset being financed. This diversification was intended to
enhance ResCap’s pricing across its debt facilities to reduce its reliance on any single source of
liquidity. Diversification of financing options was important to ResCap’s profitability and
viability because ResCap operated a “spread business.” ResCap distinguished three primary
strategies to improve its debt pricing and access to liquidity. The first strategy focused on
ResCap’s secured funding programs through the mortgage and asset-backed securities markets,
as well as long-term funding for ResCap’s HFI portfolio. The second strategy focused on
ResCap’s unsecured funding sources at the ResCap LLC level. The third strategy focused on
leveraging ResCap’s relationship with Ally Bank to access deposits and FHLB advances.
Maintaining diversified sources of financing was an important aspect of ResCap’s operating
strategy because ResCap recognized that dependence on any single source of capital would
present significant risks to its business.

     ResCap lost access to secondary market trading and securitization programs previously
established to provide long-term financing for its mortgage loans following the dislocation of the
capital markets in August 2007. In addition, short-term facilities such as its commercial paper
conduits were also affected by the August 2007 dislocation of the capital markets.312 As discussed
previously, the August 2007 dislocation also presented challenges to IBG because lenders did not
renew expiring facilities. ResCap faced new challenges in 2008 because its near-term maturities
and a lack of third party lender support required it to seek continued support from AFI.


312 Residential Capital, LLC, Quarterly Report (Form 10–Q) (Nov. 8, 2007), at 50.



                                                      VI-75
12-12020-mg         Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VI
                                           (Part 2) Pg 31 of 45




                       (c) Liquidity Reserves

      As of December 31, 2006, ResCap maintained liquidity reserves in the form of a
 portfolio of money market instruments and two $875 million, domestic, unsecured revolving
 credit facilities (one maturing July 2007, and the other maturing July 2008).313 These reserves
 totaled $2.95 billion, of which $1.9 billion was unused and available as of December 31,
 2006.314 However, ResCap’s ability to draw on its two $875 million “backup” revolving lines
 of credit was limited as a matter of practice—for example, the minutes of ResCap’s “Liquidity
 and Funding Committee” stated that the “revolver is supposed to be viewed as contingency
 not as term funding. [ResCap] can borrow from time to time, but to use it consistently would
 be a problem.”315 Further, ResCap needed 100% committed backup lines to access the
 commercial paper market for funding.316 In other words, ResCap’s need to keep the revolving
 lines in place to access the commercial paper market also effectively restricted its ability to
 draw on them. Additionally, drawing on these facilities would impede ResCap’s ability to
 negotiate secured financing with lenders.317 Fitch stated that “[when] a company draws on its
 [backup] bank lines, it just basically gives off the impression that it has run out of options.”318
 As such, any drawdown on these lines would likely exacerbate rather than alleviate ResCap’s
 liquidity issues over time.

                       (d) Dialogue With Credit Rating Agencies

       ResCap recognized that its credit rating was a critical factor in maintaining adequate
 liquidity because of the effect its credit rating had on the cost and availability of its existing
 facilities, and because of the effect its credit rating had on its ongoing access to the capital
 markets. Accordingly, an important component of ResCap’s strategy for managing its
 liquidity centered on ResCap’s commitment to maintain an investment-grade credit rating.319




 313 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 78–79.

 314 Id. at 79 (showing that the $2.96 billion was comprised of a $1.07 billion liquidity portfolio (domestic and

    international), $1.75 billion available under two $875 million unsecured revolving credit facilities and $145
    million of international bank lines).
 315 Minutes of a Meeting of the Liquidity and Funding Committee of Residential Capital, LLC, Aug. 23, 2006, at

    EXAM10377281 [EXAM10377279].
 316 Id. at EXAM10377282, EXAM10377311.

 317 Int. of W. Casey, Jan. 31, 2013, at 54:12–55:3, 55:19–56:03; Int. of J. Pruzan, Mar. 28, 2013, at 54:25–55:16;

    ResCap Materials for Discussion of Debt Restructuring/Bond Exchange, dated Apr. 18, 2008, at RC40007702
    [RC40007696].
 318 Thomas  Lee, More Mortgage Fallout: ResCap Debt Cut to Junk, STAR TRIBUNE, Aug. 16, 2007,
    http://www.startribune.com/printarticle/?id=11218491.
 319 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 79.



                                                      VI-76
12-12020-mg         Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                Section VI
                                          (Part 2) Pg 32 of 45




      ResCap established an investment-grade credit rating in June 2005.320 ResCap believed
 that an active dialogue with the credit rating agencies was crucial to maintaining that
 investment-grade rating. Such a dialogue was, therefore, an important component of its
 liquidity management plan. ResCap’s recognition of the importance of its investment-grade
 credit rating implicitly acknowledged that any future credit downgrades would have
 significant consequences for ResCap’s continued access to capital markets, from both a cost of
 funds and credit availability perspective.
                       (e) Liquidity Management Oversight And Governance Process
      ResCap employed a number of mechanisms to monitor its liquidity and capital needs, and
 those mechanisms evolved over time. In 2006, ResCap’s “Liquidity and Funding Committee,”
 chaired by the ResCap’s CFO with participation by the corporate treasurer and various
 business unit officers, was tasked with determining optimal capital structure, overseeing
 ongoing liquidity needs, and monitoring contingency funding plans. ResCap’s global treasury
 function, comprised of business unit treasurers, was tasked with evaluating liquidity needs and
 communicating such needs to senior management. ResCap’s daily liquidity management was
 designed to manage cash and liquidity centrally with input from each business segment.321
                  (3) Effect Of Mortgage Crisis On ResCap’s Liquidity In 2007
       ResCap was unable to address its liquidity needs adequately during 2007. This was not
 unique to ResCap; industry-wide liquidity issues reached an apex with the virtual shutdown of
 the credit and securitization markets in August 2007. Although the mortgage crisis was
 initially limited to subprime products, it became apparent in 2007 that the issues extended to
 Alt-A and other non-conforming mortgages. ResCap’s losses mounted as a result of the
 decline in production, increasing loan losses, and continued deterioration across its businesses
 both domestically and internationally as 2007 progressed.322
      ResCap’s liquidity was “dramatically impacted”323 during this period. As shown in
 Exhibit VI.C.4.c(3) below, ResCap’s domestic liquidity was at a “cash low point” of $328
 million on August 16, 2007.324 This liquidity shortfall led to the sale of Health Capital on
 August 17, 2007. AFI purchased Health Capital on an expedited basis for an initial payment of
 $775 million325 and a subsequent true-up to $900.5 million based upon a valuation performed
 by Houlihan.326
 320 VICTORIA WAGNER & JOHN K. BARTKO, S&P, RESEARCH UPDATE: RESIDENTIAL CAPITAL CORP. ASSIGNED

    ‘BBB-/A-3’ RATINGS (Jun. 9, 2005); PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S
    ASSIGNS BAA2 ISSUER RATING TO RESIDENTIAL CAPITAL CORPORATION; RATING OUTLOOK IS NEGATIVE
    (Jun. 9, 2005); CHRISTOPHER D. WOLFE & PHILIP S. WALKER, JR., FITCH, FITCH ASSIGNS ‘BBB’ & ‘F2’
    RATINGS TO RESIDENTIAL CAPITAL CORP. (Jun. 9, 2005).
 321 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 79.

 322 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 56.

 323 Treasury/Funding Analysis Presentation, dated Sept. 7, 2007, at RC40012729 [RC40012695].

 324 ResCap Liquidity Update, dated Oct. 15, 2007, at RC40012768 [RC40012763].

 325 Id.

 326 E.g., Houlihan Lokey HMO Valuation Materials, dated Sept. 28, 2007, at ALLY_0030374 [ALLY_0030363].



                                                     VI-77
12-12020-mg        Doc 3698-18        Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VI
                                        (Part 2) Pg 33 of 45




     The significant decline in ResCap’s liquidity during July and August 2007 was driven by
increasing margin calls, unfunded production, and the increasing liquidity needs of IBG.327
Indeed, the impact of the U.S. subprime mortgage market collapse spread globally. IBG’s
liquidity was negatively affected by “margin calls, revocation of existing credit lines,
unwillingness of creditors to renew credit facilities, and increased borrowing costs.”328 The
tipping point came on August 9, 2007, with the seizure of the global credit markets, followed by
the August 16, 2007 downgrade of ResCap by Moody’s and Fitch to non-investment grade.329
This credit downgrade was expected to increase ResCap’s borrowing costs under its existing
indebtedness significantly. At that time, ResCap estimated that those costs would increase by
$175 million per year.330 ResCap’s access to capital markets was severely impaired and its ability
to securitize mortgage loans in the secondary market was virtually eliminated at that time.
Thomas Jacob, an Independent Director, noted that he believed ResCap was



327 ResCap Consolidated Operating Review Presentation, dated Sept. 7, 2007, at RC40012736 [RC40012695].

328 IBG Business Review Presentation, dated Sept. 7, 2007, at RC40012745 [RC40012695].

329 PHILIP KIBEL & JOHN J. KRIZ, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO BA1, FROM

   BAA3; RATINGS REMAIN ON REVIEW DOWN (Aug. 16, 2007), http://www.moodys.com/research/Moodys-
   downgrades-ResCap-to-Ba1-from-Baa3-ratings-remain-on—PR_139425; MOHAK RAO & PETER SHIMKUS,
   FITCH, FITCH LOWERS COUNTRYWIDE IDR TO ‘BBB+’ & RESCAP TO ‘BB+’ (Aug. 16, 2007).
330 GMAC  Special Board Meeting Business Update, dated Aug. 22, 2007, at ALLY_PEO_0004045
   [ALLY_PEO_0004035].

                                                   VI-78
12-12020-mg         Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                           (Part 2) Pg 34 of 45




 in the zone of insolvency in “August of 2007 when [ResCap] had this credit crunch.”331 At the
 September 7, 2007 ResCap Board meeting, Mayer Brown presented “Fiduciary Duties of
 Directors and Related Legal Issues”332 to the ResCap Board, including “the duties owed by the
 directors to shareholders and creditors when a company reaches the zone of insolvency or
 becomes insolvent.”333 An August 21, 2007 research report by JPMorgan stated:

                   Liquidity and recovery are the operative words for [ResCap].
                   We believe ResCap has enough committed unused secured
                   facilities for the near term, but we believe the business model is
                   broken in the current environment. We give credit to new
                   management for taking the right steps, but it seems that the
                   market is always two steps ahead.334

      From August 16, 2007 to September 28, 2007, ResCap’s available domestic liquidity
 improved from $328 million to $3.3 billion, primarily because the Health Capital sale
 generated $900.5 million in proceeds and AFI contributed cash of $1 billion to ResCap’s
 capital.335 On September 26, 2007, ResCap management reported to the ResCap Board that its
 “liquidity position [had] improved since August but [was] still fragile.”336 ResCap
 management presented liquidity projections to the ResCap Board that forecasted a decline in
 cash balances from $2.9 billion in September 2007 to (1) $181 million in February 2008, then
 an increase to $821 million in March 2008, under the “Baseline” scenario;337 (2) a deficit of
 $11.0 billion in February 2008 and a deficit of $10.9 billion in March 2008, under a “Risk
 Adjusted/Draconian” scenario;338 and (3) a deficit of $9.9 billion in February 2008 and a
 deficit of $9.7 billion in March 2008, under a “Risk Adjusted/Draconian with Opportunities”
 scenario.339 ResCap was projecting billions of dollars in net cash outflows over the six-month
 period in each of these liquidity projections. None of these projections addressed ResCap’s
 $4.5 billion unsecured debt maturing in 2008, of which $1.5 billion was due in the second
 quarter of that year.340
 331 Int. of T. Jacob, Nov. 7, 2012, at 197:1–198:20.

 332 Mayer Brown Fiduciary Duties of Directors and Related Legal Issues Presentation, dated Sept. 7, 2007, at

    RC40012709 [RC40012695].
 333 Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, dated Sept. 7, 2007, at

    RC40005620 [RC40005558].
 334 KABIRCAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND RESIDENTIAL CAPITAL CORP
    RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. 1 (Aug. 21, 2007).
 335 See ResCap Liquidity Update, dated Oct. 15, 2007, at RC40012768 [RC40012763]; Residential Capital, LLC,

    Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 33.
 336 ResCap Review Presentation, dated Sept. 26, 2007, at RC40012914 [RC40012907].

 337 Id. at RC40012924.

 338 Id.

 339 Id.

 340 Treasury/Funding Analysis Presentation, dated Sept. 7, 2007, at RC40012731 [RC40012695].



                                                        VI-79
12-12020-mg           Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13               Section VI
                                          (Part 2) Pg 35 of 45




      As ResCap closed out the year, its liquidity portfolio, exclusive of its back-up lines of
 credit, declined from $4.0 billion as of September 30, 2007, to $2.2 billion as of December 31,
 2007.341 ResCap’s liquidity position of $2.2 billion as of December 31, 2007 was bolstered by
 $2 billion of prior cash contributions from AFI and $900.5 million from sale of Health
 Capital. ResCap’s liquidity would have been negative but for these cash inflows. ResCap
 described its liquidity issues in its Annual Report (Form 10-K) for the year ended
 December 31, 2007, as follows:

                     Throughout most of 2007, the domestic and international
                     residential real estate and capital markets experienced
                     significant dislocation. As a result, our liquidity was negatively
                     impacted by margin calls, changes to advance rates on our
                     secured facilities, and the loss of significant asset-backed
                     commercial paper conduit financing capacity along with other
                     secured sources of liquidity, including weak securitization
                     markets. This market dislocation prompted our liquidity
                     providers to evaluate their risk tolerance for their exposure to
                     mortgage related credits.342

                     (4) ResCap’s Liquidity Remained Stressed Throughout 2008

      ResCap’s liquidity position remained stressed as it entered 2008, despite $2 billion in
 cash contributions received from AFI in 2007.343 Notwithstanding its distressed financial
 condition, ResCap asserted in its public filings that its plans would provide adequate liquidity
 for 2008. Such plans included:

                     [S]trategic alternatives that will improve our liquidity, such as,
                     continued strategic reduction of assets, focus our production on
                     prime conforming products which currently provide more
                     liquidity options, explore potential alliances and joint ventures
                     with third parties involving portions of our business, potential
                     dispositions of one or more of our businesses, and strategic
                     acquisitions.344

      ResCap’s plans also included potentially tapping its backup committed unsecured lines of
 credit and exploring options for continued funding and capital support from AFI. ResCap
 acknowledged, however, that there could be no assurances that AFI would agree to provide
 such support.345
 341 Compare Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 48, with Residential

    Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 76.
 342 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 106.

 343 Id. at 49.

 344 Id. at 80–81.

 345 Id. at 81.



                                                     VI-80
12-12020-mg          Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13            Section VI
                                            (Part 2) Pg 36 of 45




      ResCap’s liquidity position worsened in early 2008. In January 2008, ResCap retained
 financial advisors to assess restructuring options.346 Casey, ResCap’s treasurer, stated on
 April 2, 2008: “[ResCap’s] current cash position is tight (forecasted to close tonight less than
 $700mm) and [ResCap’s] forecasted cash position is dangerously low in mid-April ($121mm
 on the 18th).”347 This was confirmed in ResCap’s April 4, 2008 liquidity report:

                   Domestic available liquidity is forecasted to go negative by the
                   June month end due to repayment of $1.8 billion unsecured
                   Bank Term Loan and continues its downward trend thru year
                   end in conjunction with the repayment of $2.2 billion of
                   unsecured debt . . . set to mature in 2008 . . . . ResCap has
                   engaged counsel & key banking relationships to address this
                   forecasted cash shortfall.348

 In his interview, Casey also stated that ResCap lost existing credit facilities during the fourth
 quarter of 2007 through the early part of 2008 because its banks were not renewing its credit
 facilities upon maturity.349

      The “May 2008 Project Duvall Discussion Materials” noted that the “[k]ey objective of
 [ResCap’s] restructuring plan is to create enough liquidity runway so that the company has
 adequate time to restructure its business including orderly monetization or run-off of non-core
 assets.”350 The materials further noted that “the debt restructuring alone will not provide sufficient
 liquidity to satisfy its obligations.”351 Evidence of mounting liquidity concerns was confirmed by
 Timothy Pohl, a ResCap advisor, who stated that “ResCap was undercapitalized” due to the
 dramatic changes in 2007 and 2008 that affected the industry.352 He further stated that ResCap
 was facing potential liquidity, covenant, and bond maturity issues that could trigger the need for
 ResCap to file for bankruptcy around May 2008.353

      ResCap’s inability to fund its operations and service its existing debts were noted in an
 internal document reviewing the accounting treatment of the June 2008 debt exchange:

                   ResCap is highly leveraged relative to its cash flows with a
                   declining liquidity portfolio (i.e., cash readily available to cover
 346 See, e.g., Letter from D. Ammann to J. Jones (Feb. 13, 2008) [MELZER.008816].

 347 E-mail from W. Casey (Apr. 2, 2008) [EXAM10158807].

 348 ResCap Total Liquidity Roll Forward, dated Apr. 4, 2008 [CERB011671] (noting “Key Take Aways” on the

    “Cash Rollforward” worksheet).
 349 Int. of W. Casey, Jan. 31, 2013, at 143:14–21.

 350 MorganStanley Project Duvall Board of Directors Presentation, dated May 29, 2008, at RC40008095
    [RC40008087].
 351 Id.

 352 Int. of T. Pohl, Feb. 26, 2013, at 23:11–16.

 353 Id. at 23:11–25:19.



                                                      VI-81
12-12020-mg        Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VI
                                         (Part 2) Pg 37 of 45




                  operating demands from across its business operations and
                  maturing obligations). As a result of challenging credit markets
                  and tight liquidity compounded by a cyclical downturn in the
                  mortgage market, the Company absent the current modification
                  could not obtain a new term facility outside the related party
                  group at an effective interest rate equal to the current market
                  interest rate for ‘similar debt of a non-troubled debtor.’
                  Additionally, ResCap’s baseline projections (including
                  restructuring initiatives but excluding possible opportunities) as
                  of May 31, 2008 indicated that operating and financing cash
                  flows beginning in early 2009 are expected to be insufficient to
                  fund operations and service its existing debt pursuant to
                  contractual terms. . . . .
                  While ResCap initiated the bond exchange and tender offer to
                  alleviate these immediate liquidity pressures, a large percentage
                  of bond holders were willing to accept the proposed concessions
                  in an effort to keep the company afloat and to facilitate an
                  orderly disposition of non-core assets.354
      ResCap’s available domestic liquidity fell to a low of $299 million on May 21, 2008. The
 two $875 million unsecured revolving credit facilities were terminated in June 2008 in
 connection with the June 2008 debt restructuring. Further, ResCap no longer had access to any
 committed backup funding facilities because the credit facilities extended by AFI as part of
 the June 2008 debt restructuring were fully drawn during June 2008.
      Following the June 2008 debt restructuring, ResCap was required to maintain daily
 consolidated liquidity of $750 million and unrestricted liquidity of $250 million.355 However,
 the June 2008 restructuring failed to provide ResCap with sufficient liquidity to address its
 continuing undercapitalization issues. Within months, ResCap was faced with yet another
 liquidity crisis and imminent violations of its financial covenants. ResCap’s advisors noted at
 a September 2008 ResCap Board meeting that ResCap should consider itself to be “within the
 zone of insolvency”356 and presented analyses indicating that ResCap’s liquidity would be
 exhausted within weeks.357
       Lazard and Skadden prepared an analysis of the impact of a ResCap bankruptcy filing on
 its liquidity and potential creditor recoveries.358 Lazard and Skadden reported that ResCap
 354 ResCap Bond Exchange Accounting Assessment, dated July 1, 2008, at ALLY_0242724 [ALLY_0242723].

 355 Initial Line of Credit Agreement, §§ 2.03, 7.02 [ALLY_0023145].

 356 Minutes of an Executive Session of the Board of Directors of Residential Capital, LLC, Sept. 23, 2008, at

    RC40006865 [RC40006865].
 357 Skadden and Lazard Project Scout Presentation, dated Oct. 2008, at 3 [EXAM20020824]; Skadden & Lazard

    Project Scout Presentation, dated Oct. 10, 2008, at 3 [EXAM10490750].
 358 Skadden and Lazard Project Scout Presentation, undated, at RC40008685 [RC40008678].



                                                    VI-82
12-12020-mg          Doc 3698-18        Filed 05/13/13 Entered 05/13/13 17:08:13                Section VI
                                          (Part 2) Pg 38 of 45




 would “deplete its liquidity on November 17, [2008]” without a sale of its interest in Ally
 Bank or another cash infusion.359 ResCap projected that it would deplete its liquidity by March
 2009, even under scenarios where ResCap was projected to receive cash consideration from
 the sale of its shares in IB Finance to AFI.360
       Goldman Sachs reported to the AFI Board on October 24, 2008 that “ResCap is dealing
 with liquidity shortfalls that are even more acute than AFI’s liquidity issues.”361 ResCap’s
 unrestricted liquidity was projected to be fully exhausted by November 5, 2008.362 One of the
 strategic alternatives presented by Goldman Sachs to the AFI Board was a possible ResCap
 bankruptcy filing “prior to month-end.”363
      Tom Marano, ResCap’s CEO, wrote in an e-mail, dated October 30, 2008 to the U.S.
 Treasury that “[ResCap] is extremely challenged from a liquidity and net worth point of
 view.”364 Marano asked the U.S. Treasury to “focus on [his] proposal to access TARP” as “the
 impact on the markets, borrowers, and the availability of mortgage credit will be staggering if
 we fail.”365 Ultimately, AFI instructed Marano to withdraw ResCap’s request because AFI had
 separately applied for TARP funds.366 ResCap prepared itself for a possible bankruptcy filing
 while awaiting word of whether AFI would receive TARP approval.
      Goldman Sachs noted in a confidential capital committee memorandum in November
 2008 that “ResCap management anticipates a liquidity hole of $0.8bn and a capital hole of
 $1.0bn by year-end 2008. Management has estimated that $1[bn] to $6bn of further capital
 injections may be required to support ResCap in a run-off scenario assuming its assets are held
 to maturity.”367
       While ResCap was dependent on AFI for funding, AFI was also facing its own financial
 difficulties. Goldman Sachs noted that AFI was “facing severe near term and long-term
 liquidity issues . . . [was] undercapitalized with only ~$8bn of tangible equity supporting a
 $211bn balance sheet” and was at risk of breaching its leverage covenant.368
      AFI provided ResCap with the Initial Line of Credit Facility on November 20, 2008 as a
 source of contingency funding.369 ResCap could only draw against this facility when its
 consolidated liquidity was less than $750 million, or its unrestricted liquidity was less than
 359 Id.

 360 Id.

 361 Goldman Sachs Discussion Materials, dated Oct. 24, 2008, at ALLY_0258942 [ALLY_0258921].

 362 Id. at ALLY_0258953.

 363 Id. at ALLY_0258955.

 364 E-mail from T. Marano to N. Kashkari (Oct. 30, 2008) [CCM00199669].

 365 Id.

 366 Int. of T. Marano, Nov. 26, 2012, at 24:7–15, 204:3–14, 208:3–16.

 367 Memorandum, Confidential Capital Committee Memo, dated Nov. 19, 2008, at 11 [GSResCap0000092038].

 368 Id. at 3, 11.

 369 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 98.



                                                     VI-83
12-12020-mg          Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13         Section VI
                                            (Part 2) Pg 39 of 45




 $250 million, and was required to make mandatory repayments when its consolidated liquidity
 and unrestricted liquidity exceeded these amounts.370 ResCap continued to plan intermittently
 for bankruptcy through December 2008; however, preparations for an imminent bankruptcy
 filing were suspended on or about December 24, 2008, when AFI received notification that its
 application for TARP had been approved.371

                    (5) Continued Liquidity Constraints—2009 Through 2012

      Although the receipt of TARP funds by AFI averted an almost certain ResCap
 bankruptcy filing on or about December 24, 2008, ResCap’s liquidity issues continued
 throughout 2009. ResCap projected in January 2009 that it would exhaust its cash by May
 2009, necessitating a draw on the Initial Line of Credit Facility to meet its minimum cash
 covenants.372 ResCap’s projections also indicated that a negative cash balance for July 2009
 would exceed availability under the Initial Line of Credit Facility.373 ResCap’s liquidity
 outlook did not improve in March and April 2009 and, with cash outflows for 2009 projected
 to exceed ResCap’s available liquidity, ResCap had to rely on uncertain funding from AFI to
 supplement its liquidity.374 ResCap experienced significant cash outflows because of the rise
 in interest rates in the weeks leading up to June 10, 2009, which led to losses on hedge
 positions related to the value of ResCap’s MSR assets and the corresponding need for ResCap
 to post cash collateral.375 ResCap posted $1.1 billion in cash collateral on its hedges between
 May 19, 2009 and June 10, 2009, which was partially offset by incremental borrowings on its
 MSR facility from higher MSR values.376 ResCap was experiencing daily cash flow issues by
 the summer of 2009, with the ResCap Board meeting daily to monitor ResCap’s liquidity
 position.377 Materials presented to the ResCap Board during its June 10, 2009 meeting
 included information from its financial advisors for Project Scout II,378 which stated that:

                    Ongoing market volatility may result in material cash out flows
                    related to posting collateral for hedging activity, causing
                    ResCap to run out of available liquidity to operate. Moreover,
                    increased interest expense related to servicing advances, higher
                    delinquency rates, and losses from legacy portfolios serve to
                    exacerbate ResCap’s already tenuous liquidity position . . . .
 370 Id. Ex.10.8.

 371 Int. of T. Pohl, Feb. 26, 2013, at 35:21–36:6.

 372 Executive Liquidity Report, dated Jan. 12, 2009, at RC40011090 [RC40011078].

 373 Id.

 374 ResCap  Liquidity Update, dated Mar. 29, 2009, at RC40011128–34 [RC40011125]; ResCap Liquidity
    Update, dated Apr. 30, 2009, at RC40011188–94 [RC40011173].
 375 GMAC LLC Strategy Group “Support for ResCap LLC” Presentation, dated Jun. 10, 2009, at RC40011260

    [RC40011250].
 376 Id.

 377 Int. of P. West, Dec. 18, 2012, at 129:1–6, 165:16–19.

 378 Draft Project Scout II Presentation, undated, at RC40011255 [RC40011250].



                                                       VI-84
12-12020-mg             Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13               Section VI
                                            (Part 2) Pg 40 of 45




                       Absent the funding sought [from AFI], ResCap could be forced
                       to file for bankruptcy . . . .379

      Goldin Associates stated in its June 24, 2009 and September 16, 2009 fairness opinion
 presentations to the Independent Directors that “ResCap [had] been unable to borrow against
 its unencumbered assets from new or existing third party lenders,” and lenders had reduced
 ResCap’s borrowing availability since June 2008.380

      ResCap’s access to third-party financing continued to decrease during 2009. ResCap
 reported in its 2009 audited financial statements that “[t]he market deterioration has led to
 fewer sources and significantly reduced levels, of liquidity available to finance the Company’s
 operations.”381 ResCap considered bankruptcy contingencies numerous times during 2009.382
 UBS noted in its November 2009 presentation to the ResCap Board that “ResCap has been
 living month to month with the aid of AFI, via continuous debt forgiveness.”383

     Pamela West, a ResCap Independent Director, stated that after 2009, it seemed that AFI’s
 support was more uncertain and tenuous:

                       We felt like it was getting less and less in their benefit to make
                       that support. The closing of the books that year end was painful.
                       And so, it was looking to us like that support was less and less
                       forthcoming . . . .384

                       Because it seemed very difficult for us to get that support at the
                       end of the year. And frankly, the support that we got gave us
                       very little, if no wiggle room at all . . . . And it was a month to
                       month kind of support look and that becomes untenable at a
                       certain point.385



 379 Id.

 380 Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of
    Residential Capital, LLC Regarding the June 1, 2009 Secured Line of Credit with GMAC, LLC, dated
    Jun. 24, 2009, at GOLDIN00129194 [GOLDIN00129173]; Goldin Associates Presentation to the Committee
    of Independent Members of the Board of Directors of Residential Capital, LLC Regarding Amendments to the
    June 1, 2009 Secured Line of Credit and the November 20, 2008 Secured Line of Credit with GMAC, Inc.,
    dated Sept. 16, 2009, at GOLDIN00129392 [GOLDIN00129361].
 381 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and

    2008, dated Feb. 26, 2010, at 10 [EXAM00124455].
 382 Int. of T. Pohl, Feb. 26, 2013, at 97:8–21; 99:3–7; 102:19–24; 103:14–104:5; 107:9–108:4.

 383 UBS Exchange Alternatives Discussion Materials, dated Nov. 24, 2009, at RC40016955 [RC40016938].

 384 Int. of P. West, Jan. 11, 2013, at 101:2–6.

 385 Id. at 102:2–9.



                                                     VI-85
12-12020-mg         Doc 3698-18        Filed 05/13/13 Entered 05/13/13 17:08:13                Section VI
                                         (Part 2) Pg 41 of 45




     Liquidity remained at minimal levels in 2010, 2011, and 2012, notwithstanding the
substantial capital restructuring effected in December 2009 pursuant to which AFI contributed
$2.9 billion to ResCap’s equity with a combination of cash, debt forgiveness, and asset
contributions.386 Capital and liquidity were held to minimum levels as a result of the change in
ResCap’s business model from an originator, securitizer, and servicer of mortgage loans to a
broker and servicer, as well as the covenants contained in its debt agreements with AFI.

     In a February 2010 liquidity update to the ResCap Board, ResCap stated that the sale to
Fortress of UK performing loans and domestic non-core assets “must be executed to ensure
minimum liquidity is maintained to avoid a liquidity covenant breach.”387 In addition, other
funding and risk management activities were identified as important for “ResCap [to have]
adequate liquidity through August 2010.”388




386 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and

   2008, dated Feb. 26, 2010, at 10 [EXAM00124455]; see also Exhibit VI.C.4.f(4)(b).
387 ResCap Liquidity Update, dated Feb. 23, 2010, at RC40015645 [RC40015641].

388 Id. at RC40015646.



                                                    VI-86
12-12020-mg        Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13         Section VI
                                         (Part 2) Pg 42 of 45




      In response to a possible liquidity need by ResCap in January 2011, Marano noted in an
 e-mail in November 2010 that “[l]iquidity and [profit and loss are] an issue. We are doing
 dumb stuff to maintain a charade of a fig leaf.”389 Further, a December 2010 e-mail from Lara
 Hall, of AFI Capital Markets, noted:

                  There are only two ways to operate a finance company with
                  assets of long duration and short duration liabilities unless
                  [Michael A. Carpenter] wants to go to board with every need. 1)
                  Capitalize it so that it can refinance its debts as they come due
                  and support the $3B volatile asset on its balance sheet 2) take
                  down operating agreement and run it like any other sub with the
                  support of capital and liquidity at parent.390

      In late 2010 and early 2011, liquidity remained stressed when Marano indicated:

                  I would suggest you start thinking about making up a $500mm
                  liquidity line or injection available to [ResCap] to see us through
                  the next few months while we determine if we can find other
                  sources of liquidity or decide to manage the MSR for cash as
                  opposed to managing it for asset protection.391

     ResCap’s liquidity continued to be stressed throughout 2010, 2011, and 2012, although
 ResCap reported profits in 2010. In 2011 and 2012, ResCap incurred continuing losses
 because of unfavorable valuation adjustments, hedging of the servicing assets, mounting legal
 expenses, and additional provisions for representation and warranty issues.

      In sum, liquidity was a chronic issue for ResCap from mid-2007 through the Petition
 Date. ResCap recognized that the maintenance of adequate liquidity was critical to its ability
 to operate as a going concern. Despite this recognition, ResCap was unable to generate
 sufficient liquidity to operate its business from its operations or from the capital markets, and
 found itself reliant upon billions of dollars of support from AFI.

              d. ResCap’s Access To Capital Markets

      ResCap’s access to capital markets was essential to its continuing viability. As previously
 discussed, ResCap historically relied on a variety of external funding sources including
 “whole-loan sales, the public debt capital markets, mortgage conduit facilities, and asset-
 backed securities markets.”392 However, ResCap’s access to these sources of funding



 389 E-mail from T. Marano (Nov. 22, 2010) [ALLY_0359049].

 390 E-mail from L. Hall (Dec. 15, 2010) [ALLY_0218118].

 391 E-mail from T. Marano (Dec. 15, 2010) [ALLY_0200834].

 392 Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 76.



                                                     VI-87
12-12020-mg         Doc 3698-18          Filed 05/13/13 Entered 05/13/13 17:08:13               Section VI
                                           (Part 2) Pg 43 of 45




 was disrupted in August 2007 because of the seizure of the global credit markets. This
 disruption adversely affected ResCap’s ability to obtain financing from external funding
 sources. As a result, ResCap became dependent on AFI for continuing support.

       Further, the disruption in the global credit markets also negatively affected ResCap’s
 ability to finance or otherwise monetize its unencumbered assets. Casey stated that ResCap
 was unable to obtain financing for its unencumbered assets in November 2007.393 Goldin
 Associates further confirmed ResCap’s inability to obtain third-party financing in its
 December 19, 2008 presentation to the Independent Directors in connection with ResCap’s
 proposed increase in the Initial Line of Credit Facility (by adding collateral), stating that
 “ResCap has been unable to borrow against its unencumbered assets from new or existing
 third party lenders.”394 Goldin Associates repeated their December 19, 2008 comment on
 ResCap’s inability to borrow against unencumbered assets in their June 24, 2009 and
 September 16, 2009 fairness opinion presentations to the Independent Directors.395

      ResCap had $3.5 billion in syndicated unsecured bank credit facilities before the
 disruption in the global credit markets in August 2007. These facilities consisted of a
 $1.75 billion term loan due in 2008, an unused $875.0 million revolving credit facility due in
 2008, and an unused $875.0 million revolving credit facility due in 2010. Following the
 disruption of the global credit markets in August 2007, ResCap’s lenders were unwilling to
 renew or extend credit facilities to ResCap. William Casey stated that ResCap lost existing
 credit facilities during the fourth quarter of 2007 through the early part of 2008 because banks
 were not renewing the credit facilities upon maturity.396 Sam Ramsey stated that ResCap’s
 lenders could not put forth any constructive offer to renew ResCap’s credit facilities or meet
 ResCap’s needs, and “were not willing to provide even a secured loan on the terms that were
 constructive.”397 Lombardo also confirmed the unavailability of marketplace financing for
 ResCap.398 Goldin Associates noted in their December 19, 2008 presentation to the
 Independent Directors that “ResCap’s existing third party secured financing providers:
 Lehman Brothers, The Royal Bank of Scotland, Credit Suisse and JPMorgan Chase, have


 393 Int. of W. Casey, Jan. 31, 2013, at 181:10–182:9.

 394 GoldinAssociates Presentation to the Committee of Independent Members of the Board of Directors of
    Residential Capital, LLC Regarding Proposed Amendment to the Secured Line of Credit with GMAC, LLC,
    dated Dec. 19, 2008, at GOLDIN00129114 [GOLDIN00129101].
 395 Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of
    Residential Capital, LLC Regarding the June 1, 2009 Secured Line of Credit with GMAC, LLC, dated
    Jun. 24, 2009, at GOLDIN00129194 [GOLDIN00129173]; Goldin Associates Presentation to the Committee
    of Independent Members of the Board of Directors of Residential Capital, LLC Regarding Amendments to the
    June 1, 2009 Secured Line of Credit and the November 20, 2008 Secured Line of Credit with GMAC, Inc.,
    dated Sept. 16, 2009, at GOLDIN00129392 [GOLDIN00129361].
 396 Int. of W. Casey, Jan. 31, 2013, at 143:14–21.

 397 Int. of S. Ramsey, Dec. 10, 2012, at 82:14–20.

 398 Int. of J. Lombardo, Mar. 18, 2013, at 19:18–20:2.



                                                         VI-88
12-12020-mg       Doc 3698-18       Filed 05/13/13 Entered 05/13/13 17:08:13                Section VI
                                      (Part 2) Pg 44 of 45




 reduced ResCap’s borrowing availability since June 2008.”399 As a result of ResCap’s
 inability to obtain adequate bank financing, AFI provided $3.5 billion in Secured Revolver
 Facility Loans to ResCap in June 2008. ResCap used $1.75 billion of this amount to repay its
 outstanding unsecured term loan, and subsequently used the majority of the remaining
 capacity to fund its June 2008 bond exchange.

      AFI also assisted ResCap with monetizing its otherwise illiquid assets. AFI provided the
 $750 million Resort Finance Facility to ResCap in February 2008 to provide liquidity while
 Bear Stearns continued marketing Resort Finance. That facility was to be repaid from
 proceeds of the sale of Resort Finance, which was ultimately purchased by GMAC CF, a
 subsidiary of AFI. AFI also provided ResCap with the $750 million Secured MSR Facility in
 April 2008 as a means of providing additional liquidity. AFI increased the $750 million
 Secured MSR Facility to $1.2 billion in June 2008, arranged for GMAC CF to provide the
 $600 million Servicing Advance Factoring Facility, and arranged for GMAC CF to purchase
 Resort Finance, providing an additional $250 million advance on such sale to be credited at
 closing. Cerberus also purchased certain assets from ResCap for approximately $571 million
 in the third quarter of 2008.

     ResCap also obtained $430 million under the Initial Line of Credit Facility from AFI on
 November 20, 2008. This facility was a source of contingency funding with borrowings only
 permitted when ResCap’s liquidity fell below certain levels. AFI agreed to purchase ResCap’s
 Canadian subsidiary, ResMor, and advanced ResCap $67 million to be applied to the ultimate
 purchase price, also in November 2008.




 399 GoldinAssociates Presentation to the Committee of Independent Members of the Board of Directors of
    Residential Capital, LLC Regarding Proposed Amendment to the Secured Line of Credit with GMAC, LLC,
    dated Dec. 19, 2008, at GOLDIN00129114 [GOLDIN00129101].

                                                 VI-89
12-12020-mg        Doc 3698-18         Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VI
                                         (Part 2) Pg 45 of 45




     ResCap reported in its 2009 audited financial statements that “[t]he market deterioration has
led to fewer sources and significantly reduced levels, of liquidity available to finance the
Company’s operations.”400 ResCap obtained the $370 million Second Line of Credit Facility
from AFI on June 1, 2009. That facility was subsequently increased to $470 million on June 12,
2009, and to $670 million on December 21, 2009.




400 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008,

   dated Feb. 26, 2010, at 10 [EXAM00124455].

                                                   VI-90
